                       12-12020-mg               Doc r:·6045-3         Filed 12/09/13 Entered 12/09/13
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                                                                              Pg 1 of 62


 Attorney or Party Name, Address , Telephone & FAX Nos., State Bar No. &           FOR CO URT USE O NLY
 Email Add ress
  Brian fl. Paino (SBN 251243)
 bpaino@pited unca n.com
 Cath erine T. Vin h (SBN 269020)
 cvinh@piteduncan.com
 Joseph Delmotte (SBN 259460)
 jdelmotte@pitedunca n.com
 PITE DUN CAN, LLP
 4375 Jutland Drive, Su ite 200
 P.O. Box 17933
 San Diego, CA 92 177-0933
 Telephone: (858)750-7600
 Facsim ile: (619) 590-1385



 0     Attorney for Movant(s)
 D     Mova nt(s) appearing without an attorn ey

                                               UNITED STATES BAN KRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re·: ·                                                                         CAS E N O .: 8 :11 -bk-2208 1- MW

                                                                                   CHAPT ER: 7
 SEPIDEH SALLY CIRINO, ·

                                                                                   NOTIC E OF MOTI ON AN D MOTION FOR RELI EF
                                                                                   FROM TH E AU TOMATIC STAY UNDER 11 U.S.C.
                                                                                   § 362 (WITH SU PPORTING DECLARATIONS)
                                                                                   REGA RDIN G REAL PROPERTY

                                                                                   DA T E:    Nove mbe r 14, 20 1 1
                                                                                   T IME:     9:00A. M .
                                                                                   CT RM:     6C




                                                                    Debto r(s).


 MOVA NT: W ELLS FARG O BANK, N.A ., AS TRUSTEE FOR HOLDERS OF IM PA C SECU RE D AS SETS
 CO RP ., MORTGA GE PA SS-THRO UGH CERTI FICATES , SERIES 2004-4

Mova nt is t he (check one)
D Holder of Deed of Trust
[gj Assignee of Holder of Deed of Trust
D Servicing Agent for Holder of Deed of Tru st or Assignee of Holder of Deed of Tru st
1.   NOTICE IS HER EBY GIVEN to the Debtor an d tru stee (if any)(Respond ing Parties), their attorn eys (if any), and other
     interested parties that on the above date and time and in the stated cou rtroom, Movant in the above-capti oned matter will
     move this co urt for an Order granting relief from th e au tomatic stay as to Debtor and Debtor's ban kruptcy estate on th e
     grounds set forth in the attached Motion.
2.   Hearing Locatio n: D 255 East Temple Street, Los A ngeles                                          ~ 411 West Fourth Street, Santa An a
                        D 21 041 B u rbank Boulevard, Woodl an d Hills                                  D 1415 Stat e Street, Santa Ba rbara
                        D 342 0 Tw elfth Street, Riverside
             This form is ma ndatory. It has been approved for use in the United States Bankruptcy Cou rt fo r the Ce ntral District of Californ ia.
     : 2011                                                                 Page 1                                              F 4001-1.MOTION.RP
                    12-12020-mg             Doc 6045-3            Filed 12/09/13 Entered 12/09/13
                                                                                            .< .'   15:17:10                             Exhibit
                                                                         Pg 2 of 62          ~-:-·.




 3.   a.     0     Thi s Motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1. If yo u wish to oppose this Motion, you
                   must file a written response to this Motion with the co urt and serve a copy of it upon th e Movant's attorney (or upon
                   Movant, if the Motion was filed by an unrepresented individual) at th e address set forth above no less than 14 days
                   before the above hearing and appear at the hearing of this Motion .

      b.     D This Motion is being heard on SHORTENED NOTICE. If you wish to oppose this Motion, you must appear at the
                   hea rin g. Any written response or evidence may be filed and served:

                   0 at the hearing        D at least _ __ court days before the hearing .
             (1)   D A Motion for Order Shortening Time was not required (according to the ca lendaring procedures of the
                       assigned j udge) .

             (2)   D A Motion for Order Shortening Time was fi led per LBR 9075-1(b) and was granted by the court and such
                       motion and order have been or are being served upon the Debtor and trustee, if any.

             (3)   D A Motion for Order Shortening Time has been fi led and is pending. Once th e court has ru led on that Motion ,
                       you wi ll be served with another notice or an order that will specify the date, time and place of the hearing on
                       the attached Motion and the deadline for fi ling and serving a written opposition to the Motion, if any.

4.    You may contact tli·e ~led~·~ office to obtain a copy of C!ri ·~ppr'-6v8d ~ou ct. form for use·in preparing your response (Option al
      Court Form F 400{1 M.RES);or you may prepare you r respo nse·'using the format requ.ired by LBR 9004-1 and the Court
      Manual.

5.    If you fail to file a written response to the Motion or fail to appear at the hearing, the court may treat such failu re as a wa iver
      of your right to oppose the Motion and may grant the requested relief.


Date:        October 18 2011                                                         Respectfully submitted,


                                                                                     WELLS FARGO BANK, NA , AS TRUSTEE FOR
                                                                                     HOLD ERS OF IMPAC SEC URED ASSETS CORP.
                                                                                     MORTGAGE PASS-THROUGH CERTIFICATES SERIES
                                                                                     2004-4
                                                                                     Movant name


                                                                                     Pite Duncan . LLP
                                                                                     Printed name of law firm (if applicable)


                                                                                    /s/ Catherine T. Vinh
                                                                                    Signature of individual Movant or attorney for Movant


                                                                                    Catherine T. Vinh (SBN 269020)
                                                                                    Printed name of individual Movant or attorney for Movant




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June 20 11                                                              Page 2                                             F 4001-1.MOTION.RP
                      12-12020-mg              Doc 6045-3            Filed 12/09/13 Entered 12/09/13 15:17:10                                Exhibit
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                                                                            Pg 3 of 62



                                     MOTION FOR RELIEF FROM THE AUTOMATIC STA Y 1

1.    The Property at Issue: Movant moves for relief from th e automatic stay with respect to following real property (the
      Property):
             Street address:               27495 Hidden Trail Road
             Unit/suite no. :
             City, state, zip code:        Lag una Hills, California 92653

      Legal description or document recording number (including county of recording) : Orange County; lnst. No. 2004000976411

      0      See attached continuation page.

2.    Case History:

      a.     rg] A voluntary 0 An involuntary petition                under Chapter rg] 7             0    11   0     12   013
                 was filed on (specify date): 8/29/2011

      b.     0   An Order of Conversion to Chapter                    0    7    0     11   0    12    0    13
                 was entered on (specify date):

      C.     0   Plan was co nfirmed on (specify date):

     d.      0   Other ba-nkruptcy cases affecting thi s Property have been pending with in the past two years. See attached
                 declaration .

3.   Grounds for Reiief from Stay:
     a. rgj Pursuant to 11 U.S.C. § 362(d)(1) , cause exists to grant Movant the requested relief from stay as fol lows:

                 (1) rgj Movant's interest in th e Property is not adequately protected .
                           (a) rgj Movant's interest in the collatera l is not protected by an adequate equity cushion.
                           (b)   0    Th e fair market value of the Property is declining and payments are not being made to Movant
                                      sufficient to protect Movant's interest against that decl ine.
                           (c)   0    No proof of insurance re Movant's collateral has been provided to Movant, despite borrower(s)'s
                                      obligation to insure the collateral under the terms of Movant's contract with Debtor.
                           (d)   0    Payments have not been made as required by an Adequate Protection Order previously granted
                                      to Movant.

                 (2) 0     The bankruptcy case was fil ed in bad faith to delay, hinder and defraud Movant.
                           (a)   0    Movant is the only cred itor or one of very few creditors listed on the Debtor's master mailing
                                      matrix.
                           (b)   0    Non-individual entity was created just prior to bankruptcy filing for the sole purpose of filing
                                      bankruptcy.
                           (c)   0    The Debtor fi led what is common ly referred to as a "face sheet" filing of on ly a few pages
                                      cons isting of the petition and a few other documents. No other Schedules or Statement of
                                      Financial Affairs (or chapter 13 Plan, if appropriate) have been filed.
                           (d)   0    Other (see attached continuation page).




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     :2011                                                                Page3                                             F4001-1.MOTION.RP
                       12-12020-mg           Doc 6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                                Exhibit
                                                                         Pg 4 of 62



                 (3)    D (Ch apter 12 or 13 cases only)
                          (a) D Postconfirmation plan payments have not been made to the stand ing trustee.
                          (b) D Postpetition payments due on the note secured by a deed of trust on the Property have not been
                                     made to Movant.
                  (4) 0    For other ca use for relief from stay, see attached continuation page.
     b.      fZJ Pursuant to i i U.S.C. § 362(d)(2)(A), Debtor has/have no equity in the Property; and pursuant to § 362(d)(2)(B),
                 the Property is not necessary for an effective reorg anization.
     c.     D Pursuantto i i U.S. C. § 362(d)(3), Debtor has/have failed within the later of 90 days after the order for relief or 30
                 days after the court determined th at the Property qualifies as single asset real estate to fi le a reasonable plan of
                 reorganization or to commence monthly payments.
     d.     D Pursuant to i i U. S.C. § 362(d)(4), Debtor's filing of the petition was pari of a scheme to delay, hinder and defraud
                 creditors th at involved:
                  (i) D The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                           court approval; or
                  (2) D Multiple bankruptcy filing s affecting the Property .
4.   D Movant also seeks annulment of th e stay so that the filing of the bankruptcy petition does not affect postpetition acts, ·
            as specified in"the attached declaration(s).                                                  ·· ·· · ' ·              ·

5.   Evidence in Support of Motion:                  (Important Note: Dec/aration(s) in support of the Motion MUST be attached
     hereto.)
                                                                                                                                                ·-
     a.     fZJ Movant submits the attached declaration(s) on the court's approved forms (if applicable) to provide evidence in
                 support of th is Motion pursuant to the LBR.
     b.     D Other declaration(s) are also attached in suppori of this Motion .
     c.     fZJ Movant requests that the court consider as admissions the statements made by Debtor under penalty of perjury
                 concerni ng Movant's claims and the Property set forth in Debtor's sched ules. Authenticated copies of the relevant
                 portions of the schedules are attached as Exhibit:!_.
     d.     D Other evidence (specify):
6.   0      An optional Memorandum of Points and Authorities is attached to this Motion.

WHEREFORE, Movant prays that th is Court issue an Order terminating or modifying the stay and granting the
following (specify forms of relief requested):

i.   Relief from the stay allowing Movant (and any successors or assigns) to proceed under applicab le non ban kruptcy law to
     enforce its remed ies to foreclose upon and obtain possession of th e Property.

2.   Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
     modification, refinance agreement or other loan workout/loss mitigation agreement. Movant, through its servicing
     agent, may co ntact the Debtor via telephone or written correspondence to offer such an agreement. Any such
     agreement shall be nonrecourse unless stat ed in a reaffirmation agreement.

3.   D Annulment of the stay so that the filing of the bankruptcy petition does not affect postpetition acts, as specified in th e
            attach ed decla ration(s) :




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June 2011                                                              Page 4                                             F 4001 -1.MOTION.RP
                             12-12020-mg            r
                                                Doc 6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                                Exhibit
                                                                            Pg 5 of 62



  4.    [Z] Add itional provisions requested:

                a.     fZJ Th at th e Order be bindi ng and effective despite any co nve rsion of this bankru ptcy case to a case under any
                             other chapter of Title 11 of the United States Code.
                b.     fZJ That the 14-day stay described by FRBP 400 1(a)(3) is waived .
                c.     D Th at Extraordinary Relief be granted as set forth in the Attachment (Use Optional Court Form F 4001-1 MER).
                d.     0     For other relief requested, see attached co nti nuation page.

  5.    If relief from stay is not granted, Movant respectfully requests the cou rt to order adeq uate protection.


  Date:         October 18. 2011                                                      Respectfully submitted,


                                                                                      WELLS FARGO BANK, N.A. , AS TRUSTEE FOR
                                                                                      HOLDERS OF IMPAC SECURED ASSETS CORP. ,
                                                                                      MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
                                                                                      2004-4
                                                                                      Movant name
                     .. ':             '•.-·\

                                                                                      Pite Dunca n LLP
                                                                                      Printed name of law firm (if applicable)


                                                                                      Is/ Catherine T. Vinh
                                                                                      Signature of individual Movant or attorney for Movant


                                                                                      Catherine T. Vinh (SBN 269020)
                                                                                      Printed name of individual Movant or attorney for Movant




        1
        This Motion for Relief from Automatic Stay shall not constitute a waiver of the with in party' s right to receive service
  pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed . R. Bankr. P. 7004, notwithstanding Pite Duncan,
  LLP's participation in this proceeding. Moreover, the within party does not authorize Pite Duncan, LLP , either expressly or
  impLiedly throug.h Pite Dunca n, LLP's participation in this proceeding, to act as its agent for pu.rposes of service under Fed . R.
  Bankr. P. 7004.

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~f;;.< ~ 2011                                                             Page 5                                             F 4001-1.MOTION.RP
                  12-12020-mg             Doc 6045-3             Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                        Pg 6 of 62




                                                       REAL PROPERTY DECLARATION


 I,                 ~ 6 ~f-LL{;J ,                                     declare as follows:

      1. I have C a l know ledge of the matters set forth in this declaration and, if callw upon to testify, I could and would
         competently testify thereto . I am over 18 years of age. I have knowledge regard ing Movant's interest in the real property
         that is the subject of this Motion {Property) because (specify):

        0 I am the Movant and owner of the Property.
        0 I manage the Property as the authorized agent for the Movant
        0     I am emp loyed by Movant as (state title and capacity):

        [g) Other (specify): See Attach ment 1.

   2. I am one of the custodians of the books, records and files of Movant that pertain to loans and extensions of credit given to
      Debtor concerning the Property. I have personally worked on books, records and files, and as to the following facts, I know
      them to be true of my OIIVh knowl~dge or I have gained knowledge of them fro.m the business records of Movant on behalf
      of Movant, w hich were made at or about the time of the events recorded, and which. are maintained in the_ordinary course
      of Movant's business at or near the time of the acts, conditions or events to w hich th.ey relate. Any such document was
      prepared in the ordinary course of business of Movant by a person who had personal knowledge of the ev~nt being
      recorded and had or has a business duty to record accurately such event. The business records are available for
      inspection and copies can be submitted to the Court if required.
  3. The Movant is:
        D Original holder of the beneficial interest in th e Property. A true and correct copy of a recorded proof of this interest is
              attached hereto as Exhibit_ (e.g. deed ofJrust).
        ~ Assign ee of the original holder of the beneficia l interest in the Property. A true and correct copy of recorded proof
          of th is interest is attached hereto as Exhibit 3. (E.g., allonge, assignment, et. a!.)
        0     Servicing or sub servicing agent pursuant to a servicing agreement or other documented authorization to act as
              Movant for the owner of the beneficial interest. Attached hereto as Exhibit_ is a true and correct copy of the
              relevant part of the document which reflects authority to act as Movant for the owner of the bene'licial interest.

  4 . a. The add ress of the Property that is the subject of this Motion is:

                   Street address:                27495 Hidden Trail Road
                   Unftfsuite no.:
                   City, state, zip code:         Laguna Hills, California 92653

        b.    The legal description or document recording number (including cou nty of recording) set forth in Movant's deed of trust
              is attached as Exhibit 2.
              0    See attached page.

  5. Type of property: (Check all applicable boxes)
       a.     [g) Oebtor's(s') principal residence                               b.   D other single family residence
       c.     0    Multi-unit residential                                        d.   D Commercial
       e.     0    Industrial                                                    f.   D Vacant land
       g.     0    Other (specify) :



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J1.1ne 2011                                                               Page 6                                             F 4001-1.MOTION.RP
                      12-12020-mg               Doc 6045-3             Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                              Pg 7 of 62




           6 . Nature of Debtor's interest in the Property:
              a.     D Sole owner
              b.     [8] Co-ow ner{s) (specify) : John Cirino is a Co-Borrower, but not a party to the Bankru ptcy.
              c.     0   Lien holder (sp ecify):
              d.     0   Other (specify ) :
              e. [21 Debtor t2J did                0 did not            Jist the Property in the schedules filed in this case.
              f.     [21 Debtor acquired the interest in the Property by                     ~ grant deed D quitclaim deed                  0 trust deed
                         The deed was recorded on:
          7. Amount of Movant's claim with respect to the Property:
                                                                                             PREPETITION           POSTPETITION             TOTAL
              a.       Principal:                                              $                                   $                        $1,351,485.55
              b . Accrued interest                                             $                                   $                        $0.00
              c. Late charges                                                  $                                   $                        $0 .00
              d. Costs (attorney's fees, other costs):                         $                                   $                        $0.00
              e. Advances (property taxes, insurance):                         $                                   $                        $0.00
           · ·!·   -~ .~ss susp,e nse or partial balance paid :                $[                                  $[                       $[0.00]
              g. . TOTALCLAIMasof: 9/16/2011                                   $                                   !(                       $1 ,351 ,485.55
              t"i.   0               i.due and payable because it matured on (specify date) :
                           Loan l$ a!_
          8. Movant holds a    . [8] deed of trust                0     judgment lien       D other (specify)~--------
              that encumbers the Property.

              a.     A true and correct copy of the document as recorded is attached as Exhibit 2.
              b.     A true and correct copy of the promissory note or other document that evidences the Movant's claim is attached as
                     Exhibit 1.
              c.     0 A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of trust
                     to Movant is attached as Exhibit 3.
          9. Status of Movant's foreclosure actions relating to the Property                     (fill the date or check the box confirming no such
             action has occurred}:
             a.      Notice of default recorded on the following date:              1/25/2011_        or none recorded 0
             b.      Foreclosure sale originally scheduled for the following date:                Not Available         or none scheduled        0
             c.      Foreclosure sale currently scheduled for the following date:                _or none scheduled [gj
             d.      Foreclosure sale already held on the following date: _or none held f8l
             e . Trustee's deed on sale already recorded on the following date: _                        or none recorded [8]
         10 . Attached (optional) hereto as Exhibit _ _ is a true and correct copy of a POSTPETlTION statement of account that
              accurate ly reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the petition
              date.




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         June 2011                                                                                                                 F 4001 ~1.-M OTI ON.RP

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              12-12020-mg               Doc 6045-3             Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                      Pg 8 of 62




11 . I2S] (chapter 7 and 11 cases only):
     Status of Movant's loan:
    a. Amount of current monthly payment: $5 523.97                        for the month of September              20_11_ .
    b.     Number of payments that have come due and were not made: 1.1___. Total amount: $71 811 .61

    c.     Future payments due by time of anticipated hearing date (if applicable):
           An addition al payment of $5.523 .97 will come due on October 1, 2011 , and on the ~ day of each month thereafter.
           If the payment is not received within ..1§_ days of said due date, a late charge of $197.09 will be charged to the loan.

    d.     The fair market value of the entire Property is $1 ,238,731 .00, established by:
           D App raiser's declaration w ith appraisal attached herewith as Exhibit _ _
           D A real estate broker or other expert's declaration regarding value attached as Exhibit_.
           lZl A true and correct copy of relevant portion(s) of Debtor's schedules attached as Exhibit 4_ __
           D Other (specify):-~----------~--------------
    e.     Calculation of equity in Property:
                            -        . '
                    '     .
         · Based upon D a "preliminary title report        I2S] Debtor's admissions in the schedules filed in this case, the Property is
           subject to the following deed{s} oftrust or lien(s) in the amounts speCified sect.Jring the debt against the Property:
                                                                               Am ount as Scheduled                   Amount Known to
                                         Name of Holder                        by Debtor (if any}                     Declarant and Source
    1st deed of trust                    Movant                                   1,411,404.00                           1 ,351,485.55
    2nd deed of trust:                   SLS                                        243,542.00
    3rd dee<! of trust:
    Judgment liens:
    Taxes:
    Other:                               Nellie Gail Ranch                         1,522 .00
  TOTAL DEBT: $1,596,549.55

    f.     EvidenGe establishing the existence of tile above deed(s) of trust and lien(s) ls attached as Exhibit_4_, and consists
           of:
           D Preliminary title report
           I2Sl Relevant portions of Debtor's schedules as flied in this case
           D Other (specify) : - - - - - - - - - - - - - - - - -
    g. Subtracting the deed(s) of trust and other lien(s) set forth above from the va lue of the Property as set forth in
           Paragraph 10 above, the Debtor's equity in the Property is $(357,818.55) (§ 362(d)(2)(A)) .
    h.     The value of the uequity cushion" in the Property exceeding Movant's debt and any lien(s) senior to Movant is
           $(112,754.55)    (§ 362(d)(1 )).
    i.     Estimated costs of sale: $ 99,098.48 (estimate based upon 8% of estimated gross sales price).
   j.    The fair market value of the Property is declining based on/due to:




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June2011                                                                                                                F 4001~1.MOTION.RP

                                                                      Page 8
                12-12020-mg               Doc 6045-3              Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                         Pg 9 of 62




12. 0        (Chapter12and 13casesonly)
       Chapter 12 or 13 case status information :
       a.    341 (a) Meeting currently sche<!uled for (or concluded on) the following date:
             Confirmation hearing currently scheduled for {or concluded on) the following date:
             Plan confinned on the following date (if applicable):

       b.    Postpetition payments due BUT REMAINING UNPAID since the filing of the case:
              (Number of)                payment(s) due at     $             Each    $                  =
              (Number of)                payment(s) due at     $             Each == $
              (Number of)                payment(s) due at     $             Each= $
              (Number of)                payment(s) due at     $             Each = $
              (Number of)                late charges at       $             Each = $
              (Number of)                late charges at       $             Each = $
              (Number of)                late charges at       $             Each = $
              (Number of)                late charges at       $             Each = $
              (See attachment for additional breakdown or information attached as Exhibit_.)

       c.   Postpetition advances or other charges due but unpaid:                                              $
            (See attachment for detaifs of type and amount attached as Exhibit_.)
       d. · Attorneys' fe es' and\ costs :  · · "' , · .:· ·..;                                                 $
   ·        (See attachment for detaiis ortype and amount attached as Exhibit_.)

       e. Less suspense or partia l paid balance.                                                               [$

                               TOTAL POSTPET!TION DELINQUENCY:                                                  $

       f.   Future payments due by time of anticipated hearing date (if applicable):
            An additional payment of $_ _will come due on _ _, and on the _ _ day of each month thereafter . If the
            payment is not received by the_._ day of the month, a late charge of$ _ _ will be charged to the loan.

       g. Amount and date of the last 3 postpetition payments received in good funds, regardless of how applied, from the
            Debtor, if applicable:
                  $                 received on ~----------
                 $                  received on - - -- -- - - - - -
                 $                  received on - -- - - - - -- -

       h.   0 The claim is provided for in the chapter 12 or 13 Plan. Plan payment history is attached as Exhibit _ __
       i.   0 See attached declaration(s) of chapter 12 or 13 Trustee reg arding receipt of payments under the plan (attach LBR
                 Form F 4001-1M.13}.

13.    D Movant has not been provided with evidence that the Property is currently insured, as required under the terms of the
            loan.

14. 0       The cou rt determined that the Property qualifies as single asset real estate on                  . More1han90days
            have passed since the filing of the petition, more than 30 days have passed since the court determined that the
            Property qualifies as single asset rea! estate, the Debtor has/have not fi led a plan of reorganization that has a
            reasonable possibility of being confirmed within a reason able time or the Debtor has/have not commenced monthly
            payments to Movant as requ ired by 11 U.S. C. § 362(d)(3) .




            This form is mandatory. It ha.s been app(oved for usa in the United Slates Bankruptcy Coort for the Ctlntral District of Califomia,
June 2011             --   -                                                                                                F 4001·1.MOTION.RP

                                                                         Page9
                 12-12020-mg            Doc 6045-3             Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                     Pg 10 of 62




 15. D See attached continuation page for facts establishing that the bankruptcy case was filed in bad faith to delay, hinder,
       and or defraud Movant.

 16. D The filing of the petition was part of a scheme to delay, hinder and defraud creditors that involved:
     a.     0     The transfer of all or part ownership of, or other Interest in, the Property without the consent of Movant or court
                  approval. See attached continuation page for facts establishing the scheme.

     b.     D Multiple banl<I'I.Jptcy filings affecting the Property. The multiple bankruptcy filings include the following cases:
            1.    Case name :                       Chapter:
                     Case number.                       Date dismissed:                  Date discharged:
                     Date filed:
                     Re lief from stay re this property    was0               0
                                                                        was not granted.

            2.   Case name:                       Chapter:
                    Case number:                      Date dismissed :                  Date discharged:
                    Date filed:
                    Relief from stay re this property    was  0               0
                                                                       was not granted.

            3.   Case name:                       Chapter:
                    Case numb~(·,- ·                  Date dismissed;                  Date discharged:
                    Date filed :
                    Relief from stay re this prdperty 0 was                   0
                                                                      was not granted .

            0    See attached continuation page for more information about other bankruptcy cases affecting the Property.
            0    See attached continuation page for facts establishing that the multiple bankruptcy cases were part of a scheme to
                 delay, hinder and defraud creditors.

17. 0        Movant seeks annulment of the automatic stay so that the filing of the bankruptcy petition does not affect any and
            all of the e nforcement action s set forth in paragraph 8 above that were taken after the filing of the bankruptcy
            petition in this case.
    a.      D These actions were taken by Movant w ithout knowledge of the bankruptcy filing, and Movant would have been
                 entitled to relief from stay to proceed with these actions.
    b.      0    Although Movant knew aboutthe bankruptcy filing, Movant had previously obtained relief from stay to proceed
                 with these enforcement actions in prior bankruptcy cases affecting this Property as set forth in paragraph 17{b)
                 above.
    c.      0    For other facts justffying annulment, see attached continuation page.

I declare under penalty of perjury under ·ttt~ laws of the United States ~at the foregoing)s true and correct and
that th_is Declaration w $-tXe<:uted on               (CY(7 -(( .                                                     1

                  -?                         \                                                       .                               <




          This form is mandatory. It has b€en approved for use in the United States Bankruptcy Court fOf the Central District of California.
June 2011                                                                                                                 F4001g1.MOTION.RP

                                                                      Page 10
                12-12020-mg               Doc 6045-3          Filed 12/09/13 Entered 12/09/13 15:17:10                                   Exhibit
                                                                    Pg 11 of 62




                      J  I                                           A TIACHMENT 1.

    I,           . '. . i.-4- 'i-.L-=r--~&
         ----1</!JJ                 U·';j ~~YL~il-!.--Q=---~-----·
                             4· , t > -                                   declare:

           1. I am over 18 years of age and am employed as a                  ~ra.JZs of GMAC Mortgage,
              LLC ("GMACM"). In such capacity, lam authorized to ake his declaration regarding the loan
              described below (the "Loan"). If caHed to testify in this matter, I would testify under oath as to
              the following :

           2. I have access to and am familiar with GMACM's books and reco rds regarding the Loan,
              GMACM's servicing records, and copies of the applicable Loan documents. t am familiar with
              the manner in wh ich GMACM maintains its books and records, including computer records
              relating to the servicing of the Loan. GMACM's records are made at or near the time of the
              occurrence of the matters set forth in such records, by an employee or representative with
              knowledge of the acts or events recorded. Such records are obtained , kept and maintained by
              GMACM in the regular course of GMACM's business. GMACM relies on such records in the
              ordinary course of i t~ business.
            J


           3, (;MA.GM has the contractual right and responsibility to service the ~pan .

           4. According to GMACM's books and records, the Loan is evidenced by . a promissory note
              executed by John Cirino and Sepideh Cirino and dated October 20, 2004, in the original
              principal amount of $1,320,000.00 (the UNote"). See Exhibit 1.

           5. GMACM's records reflect that WELLS FARGO BANK, N.A, AS TRUSTEE FOR HOLDERS
              OF IMPAC SECURED ASSETS CORP., MORTGAGE PASS-THROUGH CERTIFICATES,
              SERIES 2004-4 holds possession of the orig inal Note. The Note is indorsed and payable in
              blank. See Exhibit 1.

           6. The Note is secured by a deed of trust (the "Deed of Trust") relating to the real property
              commonly known as 27 495 Hidden Trail Road, Laguna Hills, California 92653 (the "Propertyn).
              The Deed of Trust reflects that it was duly recorded. See Exhibit 2.

           7. Copies of the Note and Deed of Trust which are attached hereto as Exhibits 1 and 2 are true
              and correct copies of said documents contained in GMACM's business records.

           8. The Deed of Trust was assigned to WELLS FARGO BANK, N.A, AS TRUSTEE FOR
              HOLDERS OF IMPAC SECURED ASSETS CORP., MORTGAGE PASS-THROUGH
              CERTIFICATES, SERIES 2004-4 . A copy of the Assignment of Deed of Trust is attached
              hereto as Exhibit 3.

           9. GMACM has retained counsel to represent it in this matter, and is thereby incurring attorneys'
              fees and expenses in this matter.

          This form is mandatory. It has been approved for use in the United Sta!es Bankruptcy Court for the Central District of California.
June2o11                                                                                  -                              F 4001-1.MOTION.RP

                                                                      Page 11
                 12-12020-mg              Doc 6045-3            Filed 12/09/13 Entered 12/09/13 15:17:10                                Exhibit
                                                                      Pg 12 of 62



                                              PROOF OF SERVICE OF DOCUMENT
I am ove r th e age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                  4375 Jutland Drive, Suite 200
                                                        P.O. Box 17933
                                                   San Diego, CA 92 177-0933

A true and correct copy of the foregoing document described NOTI CE OF MOTION AND MOTION FOR RELiEF FROM
THE AUTOMATIC STATY UNDER 11 U.S.C. § 362 (WITH SU PPORTING DEC LARATI ONS) REGARDIN G REAL
PROPERTY will be served or was served (a) on the judge in chambers in the fo rm and manner req uired by LBR 5005-
2(d) ; and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VI A NOTICE OF ELECTRONIC FILIN G (NEF) - Pursuant to contro lling General
Order(s) and LBR, the foregoing document will be served by the co urt via NEF and hyperlin k to the document.
On October 18, 2011, I checked the CM/ECF docket fo r this bankruptcy case or adve rsary proceeding and determi ned th at the
fol lowing person(s) are on the Electron ic Mai l Notice List to receive NEF transm ission at th e email add ress(es) stated below:

Weneta M Kosmala (TR)                   We neta. Kosma la@7tru stee .net
United States Tru stee (SA)             ustpreg ion1 6.sa .ecf@usdoj.gov
                                                                                       0    Service informatio n co ntin ued on attached page

2. SERVED BY UNITED STATES MA IL OR OVERNIGHT MAIL (state method for each person or entity served):
On October 18, 2011: I served the fo llowing person(s) and/or entlty(ies) at the last known add.ress(es) in th is bankru ptcy case or
adversary proceeding by placing a true arid correct copy thereof in a sealed envelope in "the United States maif, first class,
postage prepaid , and/or with ari ov~rnigh t mail service addressed as follows. Listing the judge here constitutes a .declaration
that ma iling to the judge wi ll be completed no later th an 24 hours after th e docu ment is f_i led.

-H onorable MarkS Wallace, 411 West Fourth Street, # 1053, Santa Ana, CA 92701-4516
- SLS, c/o Managing and/or Servicing Agent, 8742 Lu ce nt Blvd, Ste #3 00, High land Ra nch, CO 80 129
- Sepideh Sally Cirino and John Cirino, 27495 Hidden Trail Road, Laguna Hi lls, CA 92653
- Nellie Gail Ranch , c/o Managing and/or Servicing Age nt, Merit Property Mngmnt, 1 Polaris Way, A liso V iego, CA 92656

                                                                                       D Service informati on co ntinued on attached page
3. SERVED BY PERSONAL DELIVERY, FA CSIMILE TRANSMISSION OR EMAIL (state method fo r each person or entity
served): Pursua nt to F.R.C iv.P. 5 and/or contro lling LBR, on                                    I served the fo llowing person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facs imile transmission
and/or email as follows. Listing the judge here co nstitutes a declaration that personal delivery on the judge will be comp leted
no later than 24 hours after the document is filed .
                                                                          D Service information contin ued on attached page
I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

    Date: October 18, 2011                                   Signatu re : /s/ CHRIS GUERR ERO


                                                             Printed Name: Chris Guerrero




        This form is mandatory. It has been approved for use in the United States Bankruptcy Court for th e Central District of Ca lifornia.
June 2011                                                                                                                F 4001-1.MOTION.RP

                                                                      Page 12
                                                                               (::}~-~
                 12-12020-mg           Doc 6045-3     Filed 12/09/13 Entered 12/09/13   15:17:10                  Exhibit
)eutsche Bank
                                                                  Date Sent:
                                                            Pg 13 of 62       o~/16120 11 /7 .,w--
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                                                                  No of pages:

       NEW TRACK PROCESSING
                                                                  Frorn:
       ACS-INC
       £!401 JAMES AVEN(JE S                                                Deutsche Bank
       S UITE 140                                                           '1761 East St. An(lrew Place
                                                                           Santa Ana , CA 92705
       BLOOMINGTON, Mi'l 55431


1Me;   7"142476'120                                               Phon e: 714-247-6000
~:     8773523715
                                                                  Email:   SantaAna.CustodyHeq uests@db .com




                                                       ITEMS TO FOLLOW
              Loan NI.Jrnber                Alt Loan N umbe r              Name                                Document
048C                                                                       CIRINO                              NOTE




                               r   ,




                                                                                                                      Page 13
                                                                                                              Exh ibits 1
                                     12-12020-mg             Doc i6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                                           Exhibit
                                                                                         Pg 14 of 62        ....          ··~




                                    MIN: 1000393-0200476481-0
                                                                   AO,JUSTABLE RATE NOTE
                                    (UBOR Six-Month Index (As Publ ished In The vVaf! Street Jouma~-P..ate Caps)

                                        THIS NOTE CONTAINS PROVISIONS ALLOWJNG fOR CHANGES IN MY INTEPJ:ST
                                        RAT£ AND MY MONTHL v· :PAi'lVIE">JT. THIS NOTE LTMfTS THE AMOUNT MY
                                        INTEREST RAl'E CAN CHANGE Al' ANY ONE TH"1E AND THE MAXIM1JM RATE 1
                                        MUST PAY.

                               OCTOBER . 20, 2004                                      SOOTR SAN FJ:<ANClSCX.>                            CALif'ORNlA
                                            [Date)                                                   (Clty)                                            [S!~Jle]



                                    27 4 95 HIDDEN TRli.IL ROAD , LAGUNA HILLS 1 CALIFORNIA 92 653
                                                                                     (Property Addre~)


                               1.       BORROWER'S PROM ISE TO PAY
                                        ln return for a loan that l have received. I promise to pay U.S. $1 , 32 0, 0 0 0 • 0 0          (this amount is
                               called "Principal"), plll'l interest. to the order- of Lender. tender is ALLIANCE BANCOP.P, A
                                CALIFORNIA CORPORA.TION
                               l will make all pay;uent:t.uncler tll-is Note ill the form of cash. check or money order. .                  .
                                        I nndel'stand. that Lender may tr~usfer dlis Note. l ender or <my one who take.s this Note by tra1lsfer <ind w'ho
                               iS eiltltled to receive payments under this Note is called the "Note Holder."       · ·. · : ·

                               2.     INTEREST
                                      lr1terest will be charged on unpaid pdt1cipal until th~ full amount of Principal has been paid. l will flay intere~;t
                               at a yearly rate of          5 . 9 9 0 %. The interest rate l will pay may ch<mge in accordance with Section 4 of this
                               Note.                                                                                                              ·
                                      The interest rilte required by this Section 2 and Section 4 of this Note is the rttte I wlll pay both before and after
                               any default described in Section 1 (B) of tli.is Note.    ·                                                                   ··

                               3_     PA YM EI\JTS
                                      (A) Tirrtc and Pla,~e of htyments
                                      I will pay principal and inh~rest by making a paymt!l'it every month.
                                       I will make my mondtly payments on the        ls t day of each month beginning on DECEr.!JBER 1
                               2 0 () 4 . r will make these p?yl11ents every month ulitil I have paid all of the principal and interest and any other
                               charges described below that l rnay O\Ve under tills Note. Each monthly payment will be applied as of its scheduled
                               due date and v:ill be applied to interest before PrincipaL If. on NOVE I·!JBER 1 , 2 0 3 4                   . l s@ ovve
                               amounts under this Note, l will pay those amom1ts in full on that date, whid1 is called the "Maturity Date."
                                       IwillJ.uakemymontlllypaymentsat91 ~lESTBOHO'UGH B1Vtl.; #200, SOUTB SP.. N
                               FRANCISCO; CALIFORNIA 94080
                                                                                               or at a different place if n~quired by H1e Note Holder .
                                      (B) AmO'Lmt ofMy Initial Monthly Payments
                                      Each of my initial monthly payments ·.vm be in the amount of U.S. $ 7, 9 0 5 . 58                                             Tlti:->
                               •illlountmay cha:nge. *INTEREST ONLY NOTE ADDENDUM ATTACHED HERE~['O AND
                                       (C) l\1onthly Payment Chauges                 NADE A PART HEB.EOF.
                                       Ch;mges in my monthly payment v\ il1 reflect changes in the unpaid pri.ncip<li of my loaJtl and in tlle interest rate
                                                                           1


                               t.hat I must pay. The Note Holder will determine n1y new interest rate a:nd tli.e cl'lallg'E:d ammmt of my monthly
                               payment in accordilnce v;'ith Section 4 of this Note.                                       ·




                               ti/IUL"fiSTATE f',D.JUSTABL£ !<AlE NOTF.-LIBOR SIX-MONTH INDEX                                                     Form 3520 1/01
                               (AS PUBLISHED IN Tl-if:WALL STREH JOUFiNAL)--Single F;;.rnlly                                Docll1azyice!J'ac(J"J'JJ:;t .!loD-.'i4!J-t~>62
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                                                                                                                                                           Exh ibits 1
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                                                           Pg 15 of 62




4.     INTEREST RATE AND MONTHLY PAYMENT CHANGES
       (A) Change Dates
       Tne interest rate I wlll pay may change on the 1st day of NOVEi'vlBEHt 2 00 9                                       . and
on that day every 6th m{H1th thereafter, Each date on which my interest rate could change is called a "Change
Dale."
       (B) 'l'he Index
       Beginiring with the firs t Ch;;nge Date, my interest rate will be based on an Index_ The "Index" is the average
of intetba.nk offered rates for st;;. month U,S, dollar -denominated deposits in the London market ("LIB OR.") , as
published in The V\{~11 &ree.t Joamal. The most recent Index fl.gute al,ail.able as of the n:rst husi:ri.ess day oftl1e month
irnme.djately pteceding the mori.1h in '.Vbich the Change Date occurs is called the "Cutrent Index."
       If the Index is no longer available, the Note Holder w:ill choQse a new index that is based upon comparable
information_ The Note Holder wiil give rne notice of this choice.
        (C) Calcu lation of Changes
       Before each Change Date, the Note Holder will calculate my 1HfW interest rate by adding T\'/'0 AND
 2 50 I 1 0 0 0                               percentage points (             2 . 2 50 %) to the Current Index. The Note
Holder -vvill the!l round the result of thi~ addition to the nearest or1e-eighth of one percentage point (0 .125%). Subject
to the linti.ts stated in Section 4(D) below, thi.5 rounded amount wlll be :my new interest rate ml(il the neJo.:t Change
Date.
       The Note Holder will then detennine the .amount of the montlll:y payment that would be sufficient to repay the
1mpaid principal that I a.m expected to owe a.t the Change Da:te in full on the Matmity Date at my new Interest rate
in ~ubstau.tial!y eq1,nil payJRents. The result of this calculation will be the new amount of my monthly payment.
    ·· (D) L i:mits on Intciest Rate Changes
       The interest rate l am required to pay at the first Ch<mge Date ·\11lill1t1ot be greater than        11 . 9 9 0 % or
less than ·.        . 2 . 2 50 %. Thereafter, my interest rate will never be increased or decreased on any single Change
Date l)y more   th.m    TWO AND 0 0 0 /10 0 0                                     percentage point(s) (           2 . 0 0 0 ~6)
from the rate of il1terest I have bi!en paying for the preceding 6            months, My interest rate villi never be greater
than            ll. 990 %.

       (E) Eft~ctive Date of Changes
       My 11ew interest rate will become effective on each Change Date_ I will pay the arno1mt of iiiY new monthly
payment hegiru11ng on the first monthly payment date aftef tl1e Ch;mge Date until the amount of my monthly payment
cha11ges again,
         (F) Notice <>f C!Hmges
         The Note Holder \-vill deliver or mail t.o me a notice of ;my changes in my interest tate and the amount of my
monthly payment befufe the effective date of any Gbange. 1'be notice will include information required by law to be
6!jven_ to me and also the title and telephone munber of a person who will aJl>'Ner any question I may have regarding
the notiee _

5.      BORROWER'S RIGHT TO PREPAY -r..• See att.::tched Prepayrnent Note P..dde_ndut:n .
        I have: the ii ght to Dl<J.ke pay1nents of Principal at any time llefore they are due. A payment of Pri!1cipal oil.ly
is known <J.S a '' Prepayrwmt " When I make a Prepayment, I·will tell the Note Holder in VI'Titing that 1 a.m doing so .
I may not designate a paym!f!nt as fL Prepayment if I have not made all the ID()nfuly payments due under tlris Note.
        l may 1nake a full Pt'epayment or partial Prepayroer1ts without paylng any Prepayment charge. The Note Holder
will use my Prepayments to reduce the <unount of Principal that lowe unde.r this Note. However, the Note Holder
may .\l.fJply r.ny Prepaymelllt to the accrued a.nd unpaid intere.'it on the Prepayment amount befor-e applying my
Prepaym-ent to reduce the Principal amount of this Note. lf l rnake a partial Ftepayment. the:re v'lili be no changes
irl the due dates of-my mo11thly payruents unless the Note Holder agrees in writing to those changes. My pmiial
Prepayr:cu>.Ji.t may reduce the amount of my monthly rayments after the fu·st Change Date following my partial
Prepayment. However, ;my red-uction due to my pai'Iial Prepayme~lt may be otiset by an interest rate irlcrea.se.




MULTISTA 1I: ADJus·rABLE: RATE Non:--uEoR SIX-MONtH INDEX                                                     ~orm 3520 l/01
(AS PUBLISHEU IN THE WALL STF?EET JOURNAL)--Single Family                                      DrxMt.giceli:ixr= 000-549-13132
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                                                                                                                    Exhibits 1
        12-12020-mg                             Doc.----
                                                     6045-3                        Filed 12/09/13 Entered 12/09/13 15:17:10                                                                            Exhibit
                                                                                         Pg 16 of 62




6.         LOAN CHARGES
       If a law, whlcb applies to this loan aud i-Vhich sets ma:dmnm lo11n charge;, is finally intetpreted so -thar the
interest or other loan charges collected or to be collected 1n cotmecti.on with th:is loan exceed fu2 p~r.mitte~ lin~;{s., ..
then: (i) any such loan charge shall be reduced by the amount !llecessary to reduce tlte charge to the permitted limit;
and (b) any slmis alrt:4dy collected from rne that exceeded permitted limits wlll be refunded io me. The Note Holder
may choose to make tbi..) refund by reducing the Principal I owe und~..r this Note or by making a direct payment to
m.:. If a reftllld reduces l'rincipal. the reduction will be treated a:s a partial Prepayment.

7.         BORROWER'S FAILURE TO PAY AS REQUIRED
          (A) Lare Charges for Overdue Payrnenrs
          If the Note Holder has not received the full amount of a:uy rnunthly payment by the end of    15
calendar days after the date it is due, l will pay a late chru:ge to the Note Holder. The <UDount of the charge will be
5 . 000           % of my overdue p;1yment of prlnc:ipal and inte.rest. l will pay tJtis late charge promptly but only
once on each late p.ay.meilt.
           (B) Defau lt
      If I do not pa:y the full amount of each monthly payment on the dfate it is due, 1 will be in default_
       (C) Notice of Defau It
       lf I am in default, the Note Holder may send tne a written notice telling me that ifi do not vay the overdue
amount by a certain dai:e, the Note Holder may re9wre me to pay imirtecfuttely the full amount of I'rincipal that bas
not been p;Ud and all the interest that I owe on tllat <unount. That date mttst be at least 30 days after the d.ate on which
the notice is mailed to me or delivered by other means.
           (D) No Waiver By Note Bolder ·
        Even if, at a tirne when l a1n in defau:lt, the Note Holder does not require me to pay immediately in full as
deSl.'Iibed above, the Note Holder vvill still have the right to do .so ifl arn in default at a later time.
           (E) Payment of Note Holder's Costs an d Expenses
         H the Note Holder has teqrrired me to piiy immediately in full as described above, the Note Holder will have .
tli.e right to be p(lid back by me fof all of its costs and exper1:>es in enforcing tPJs Note to the fl}..ient not prohibited by
applicable law. Those expe:n.ses include, for example, reasonable 1lttorneys' fees.

8.      GIVING OF NOTICES
         Unless appHcahle law requires a d.Uferent method, any notice that mu.'it be given to me under this Note v,rjlj be
give111 by delivering it or by rnailil1g it by fir.st d ass mail to me at f.he Propert_y- Address above or at a different address
if I give the Note Holder a notice of my different address_
         Unless the Note Holder requires a different meihod, any notice tbat must be given to the Note Holder lmder-
this Note will be given by mail.ing it by first class mail to the Note Ho•ld<er at the <1ddress stated in Section 3 (A) above
or at a different address if I am given a notice of that different address.

9.      OBLIGATIONS OF PERSONS UNDER THIS NOTE
       If more than une person si,&rns this Note, eac.h person is fL1lly and person.ally obligated to keep all of tbe
promises rnade in this Note, including the prorllise to pay the filii amou:n.t mved. AJ1y person who is a guaxantor,
smety or endorser ofthis Note is also obligated to do tllese things. Any person who tales ove:r these obligations,
i11cluding the obligations of a guarantor, surety or endorser of this Note, is also obligatefJl to keep aJ.l of the promises
made in this Note. The Note Holder may enfotce its rights under this Note aga.\nst each person individually or against
all of us together. This means that any one of us 1ililY be requ:ir;ed to p?y all of tihe amo:unts owed under thls Note.

'10_ WAIVERS
     1 and any other person ·who bas obligations under this N"ote waive the rights of heseJitment and Notice of
Dishonor. ''f're.$entment" rneans the iiglr! to requite the Note Holder to demand paymer1t of amonnts due. "Notice
of Disiwnor" means 1he r.ight to require the No te Holder to give notice to other persons that amounts due h<1ve not
been p:;Jd.



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            1 J\'':::T:::-E-::
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Fannie Mae MODIFIED INSTRUMENT                       Page 3 of 5                                                                                                           www.doamagic.com

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                                                                                                                                                                                            Exhibits 1
       12-12020-mg             Doc 6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                               Exhibit
                                                          Pg 17 of 62



11.    UNIFORl\11 SECURED NOTE
       Tb:; Note is a uniform i11stmment vv:itlllL<nited variations in some jurlsdlctil:ms. In addition to the protections
given to the Note Holder lllder this Note, a Mortgage, Deed of Trust, or Security Deed (the ''Security Insttmnimt'') ,
dated the s~me date as this Note, protects the Note H~)lder from possible losses that might result if I do not keep the
promises tlu::tt I make in this Note. That Sec1.u·ity Instrument desq·ibes how and m!der what conditions l may be
required to make i1mnedi3te payrnent in full of all amounts I ovve u:nd.er this Note. Some of thosli conilitio:Q.S read as
follovvs:
            Transfer of the Property or a Bc:neficial Interest in Borrowtr. As used ill this Section 18,
       "Interest in the Property'' m-eans any lega1 or benefidal interest in tbe :Property, including, but twt
       limited to, those benefki<il interests transferred in a bond for deed , contract for deed, installment slll\'.s
       contract or escrow agreement, the inteni of which is the transfut of title by Borrower at a future date to
       a purchaser.
           If all or any part of the Property or any Interest in the Property is sold or trm1sfefred (or if Borrower
      is not a r1amral. persnn and a beneficial interest in Bormwer is sold or transferred) without Lender's prior
      \Nritten coosent, Lender may require imn1ediate payment in full of all sums seemed by this Security
      Instrume11t. Hovvever, this option shall not he exercised by Lender if sudt e..wrcise is prohibited by
      Applica"ble Law . Lender also s!tall not exercise this option if: (a) Borrov-rer causes to be submitted to
      Lendet' information required by Lender to evaluate the intended transferee as if a new loan were being
      made to the transferee; <2nd (b) Lender reasonably determines that Lender's security will not be impaired
      by the loan assunJ.ptlon and that the risk of a breach of any covenant or agreement in tMs Security
      fustmment is acceptable to lender.                                                            ,
            To the e:xtent pernJitterl by. Applicable Law, Lemli;r may charge a teasonable fee as a condition to
      Lender'$ comeilUO the loan assi.unption. Leru:Ier also may require th~; transferee to sig11an assuri1ptiun
       agreement that is acceptable to Lender and that obligates the transferee to keep all t.he promises and
       agreements made in the Note and in this Security In$tr1ill1!Bnt. Borrowerwill continue to be obligated
       u~der the Note and this Security Instrument unless Lender releases &orrovver in vvtitlng.
            If Lender ex:erdses the option to require immediate payment in rlin, Lender shilll give Borrower
       notice of acceleration. The notice shill provide a period of not less than 30 days frmn the date the notice
       is given in accordance ·with Section 15 withiil which Borrower must pay all su:ms secured by this
       Security Instrument. If Borrower falls to pay these sums prior to the expiration of this period, Lender
       may invoke any remedies permitted by this Security Instrnrne11t without furthef Iiotice or j:iemand on
       Borrower-.




MULTISTJ\TE A DJ USTJ\BLE ~ATE N'cnE"-LJBoR SIM.JJOJ\JTH INDEX                                              Form 3520 ·1/01
(AS P!JB LISH£o IN THE WALL ..STREEF JOURNAL)--Single Family   .                            DocMi'Iglc~G"WI<';) spo-{!#-13t;:z
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      12-12020-mg             Doc 6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                                 Exhibit
                                                         Pg 18 of 62           · - -. \   I




Wll'NESS TJfE HAND (S) A.ND SEAL(S) OF THE UNDERSIGNED.




,JOHN
                      ~ _. :._2~_ ~-·j,s_,_·__   (Seal)
                                             -Borrower




-------~·------ (Seal)                                                                                                 (Seal)
                                             -Bon·ower                                                          -Borrower




     ___ _ _ _ _ _ _ _ ,_, __                     (Seal)         - - - -.·-- -- - - - - - - - (Seal)
                                             ·:Borrower                                                         -Borrower




                                                                                                 [Sign Ol'igina! Only)




t·I IULiiSTATf- />,DJ\TSTABLE RA'C£ NO'TE--LIBOR SIX·~JlOtHH INDEX                                       Form 3520 1101
(.A.S PUBLISHED IN Trf£ WALL STREET JOURN'iL)--Single Family                         OQr,:M~ r't•\-; oW:f.mfT£8 SIJ0-6•!fi-1Stl2
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 12-12020-mg                Doc 6045-3                  Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit
                                                              Pg 19 of 62


 !PAY Mro ..n,n: oR [H~R t:H~
IMPAC FiJJffJ.iNG COR.PORA.TION
\~H1'HOt.nr R!ZCOUf~S!E !BY:
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PAY TO THE OROER 0~
WITHOU'f RECOURSE                 ·
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                                                         Pg 20 of 62      ·-· .-:-·




                       INTEREST-ONLY ADDENDUM
                 TO ADJUSTABLE RATE PROMISSORY NOTE


Ptopetiy Address: 27 4 95 HIDDEN TR.':l,IL ROAD,                     LAGUNA HILLS ,              CALIFORN I A
                    92 65:3


THIS ADDENDU1Vf is made this 2O t h day of OCTOBER 2 0 0 4                                      , rutd is incor1wrated into
and intended 1:0 form a P".tt of the A(ljustable Rate Note (the "Note") dated the same date as this Addendum executed
by the undersigned ;:md payt~1le to ALLIANCE BANCORP t A C.?l,LIFORNIA CORPORATION
                                                                                                             (the Lender).

THIS ADDENblllvi 5.11perscdles Sections 3(A), 3(B), 4(C) ar!d 7(A) of the Note. None of the other provisions of the
Note are changed by this Addendum.

-3.   PAYMENTS
      (A) Tirne and Place ofPayrnent.s                                             .   .
      I WillJ)ay interest by making payments every montll fi:Jr the first 12 0 p.aymerit~ (the ''Interest-Only Period")
in the amollllt sufficient tn pay inte:test as it accrues. I wlll pay prindpal and interest by making payments every
month thereaftf~f for the lll?.Ji.:t 2 4·0 pay:r:nents in an amount sufficient to fully amortize the out.stmding principal
ha1mce of the Note at the end of the Interest-Only Period over the remaining term of tl1e Note in equal monthly
payments.
      r v,ill make rny monthly payments on tlhe first day of each month beginning on DECEMBER 1, 2 0 0 4 .
I will make the-.se payments every month lllltil I have paid all of the principal and intere..5t and arry other charges
d~~suibed below that I may owe undet tllis Note. Each monthly paynw..nt will he applied as of its scheduled due date
and ·will be applied to interest before principaL If, on 1\TO\l£t"'BER l, 2 0 3 4                     , I still owe amnunts
mtder this Note . I will pay those arnounts in full on that date, whlch is called the "Maturity Date."
      lwi.l1IllilkemyrJayrnents at 91 WES'I'BOROTJGH BLVD., #200, SOUTH SAN
      FRANCISCO , CA1IFORNIA 94080
                                                               , or at a different place if required by the Note Holder.
      (B) Amount of My Initial Monthly Payments
      Each of my initial rnmrthly payments will l)e in the amotmt of U.S. $ 6 , S 8 9 • 0 0                                  . This
payment muount is based on tlle original prineipal balance of the Note. 'fhis paymertt &mount may ch;mge.

4.    INTEREST RATEAND MONTHLY PAYMENT CHANGES
      (C) Cakulation ofCh ange~
      Before each Ch;mge Date, the Note Holder wil1 calculate my new intere.5t rate by (ldding
      TWO AND 2 50 I l 0 0 0                                  percentage poi.nt(s) (       2 . 2 50  '%) to tlH~ Current
lndex for such Ch<Ulge Date. The Note Holder will then round the result of this addition to the< nearest one-eighth
of one percent<~ge p(lmt (0.125'%). Subject to the limits stated in Section 4(0), tllis rounded ammmt will be my new
interest rate tmtil the next Change Date.
          During tlJe In.terest-01lly Period. the Note Holder will then determine the amount of the monthly payment
that would be sufficient ((I repay accrued interest. This will be the amrHmt of my mtonthly ·payment untll the earlkr
of the next Change Date nr the. end of the lntetest-Olll.y Period unless l nliilte a volnn·ttary prepaynMlt of pr:!mipa1
dming such period. Iff rnake a voluntary prepayment of prlndpal duling the Interest-Only Period, my payment
arnount for subsequent paymBms vli11 be reduced to the arnorn1t necessary to pay itttere.<;:t at the then current interest
rate on the lower principal. hr:tl;mce. At 1he end of the Intetest.Only Period ili'ld on each Change Date thereafter, the



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                                                                   Pg 21 of 62




           Note Holder will determine the amount of the monthly payment that would be sufficient to repay in full the unpai•1
         · principal that I am e~~pected to O\ve at tlte end of the lnterest-Only Period or Change Date, as applkable. in equal
           montl!ly pay1nents over the remaining term of the Note. ~('he result of this· ct.lculation wm he the n.ew amount of rny
           monthly paymeJtt. PJ.ter tl111 erld of the Interest-Only Period, rn.y payment amount vvill not be reduced due to
           voluntary prepa:_y:ments.

          7_   BOP-ROWER' S FA ILURE T O PAY AS REQUIRED
               (A) Late Charge fot Overdue Payments
               If the Nute Holder has not received the fill amount of any munthly payment by the end of 15
          calendar days after the date it is due. l will pay a late charge to the Note Holder. The ammwt of the charge will be
                     5 . 0 0 0 % of my overdue paynHmt of interest during the In.terest-On1y Per-iod, 5 . 0 00              % of
          my overdl!e payment of principal and interest there.Uter. I \.Vill pay this late charge promptly but only once on each
          late paym.ent.




           ·~--'--"·--t-~-~··- .:. . J~ob-~-i.q 4~~~~L~? \0~\1 or          SEPJ:DEH CIRINO



          ~------·~~
                   · ------------------------
          Bonower                                            Date          Borrower                                           Date




           Borro-wer                                         Date          Borrower                                           Date




           IN-r EREST·ONLY P..DDENDUM TO ADJUS"JABl.E RATf PROMISSORY NOTE                                             800,94~-Ji!tJJ
           FORM 603!: 03/03/03                              Page 2 of 2                                       www. clocmagio. corn
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                                                                                                                         Exhibits 1
     12-12020-mg             Doc 6045-3           Filed 12/09/13 Entered 12/09/13 15:17:10                                          Exhibit
                                                        Pg 22 of 62      ···-




                                        ADDENDUM TO NOTE
     This addendum is made OCTOBER 2 0, 2 0 0 4                          and is incorporated into and deemed to arnend and
supplement the Adjusiable Rate Note of tlte same date.

The property cuvered by this addendum ~s described in the Semrity Instrun1ent and located at
27495 HIDtJ:8N TRAIL ROAD 1 l~AGUNA HILLSr CALIFORNIA 92653


AM ENDED PROVISIONS
     ln addition to the provisions a:nd agreements made in the Note. Vwe nu·ther covena11t aitd agree as follows:

ADJUSTABLE 11\JTEREST RATE AND MONTHLY PAYMENT CHANGES
       Limits on Inr.crest Ra.tt Ch,rnges
       The Interest rate r am requited to pay at th~ first Change Date \i.>illnnt be greater tlum     ll . 9 9 0 '36 or less
than             2 . 2 5 0 %_ Thereaf!er, nry adjustable interest rate will never be incre<J.sed or decre-ased on any single
Change Date by more lhim TWO A.N D 0 0 0 I 10 0 0                                                       percentage point(s)
 (        2 . 0 0 0 %) from the rate~ of intere-.st I ~ve )J~en payii.lg for the preceding six (6) mcmths. My inter>e$[ rate
·will never he gTeater than          ll . 9.9 0. % . . My pitere.st ·rate v~ill never be less than             2 . 2 5 0 %.

UNIFORfiA SECURED NOTE
      This Note is a ur1ifon11 Jnwurnent with limited variations in so;ne .iurisdlctions. In addition to the protections given
to theN ote Holder under tl!is Note. a Mortgage, Deed of Trust l)r Securi.r; Deed (tbe "Secruity Instnooer1t''), dated the
same dil.te as this Note, protects lhe Note Holder from possible losses that might result if I do not lceep the promises r.hat
I make in this Note _ That Security Instrument describes how a:r!d under what conditi.OI!.$ l may be requtred to make
immediate payment in full of all amounts r owe under tlris Note. Some·of those condition:> read as foll()ws:

           Transfer of the Property or a BetJeficial Interest in Bon-ower. As used in this S<2ctiun lS, "Interest
     in the Property" means ail'J legal Of beneficiallliterest in the Property. including. but not limited to, those
     benefici1Ll interests transferred in a bond for deed, contract for deed , installment sales contract Of escrow
     agreement, lhe intent of wltich is the tnmsfet of title by Borrower at a futuro date to a purchaser.
           If all or any part of the Property or any Interest L11. the h-operty is sold or transferred (or if Borrower is
     not a natural person and a benetldal interest in Eonower is sold ot transferred) -..vi.thout Lender's prlor written
     consem. Lender may requ.ire in.l!llediate payment ill full of all sums secured by this Security.ln$tnune:n:L
     However, this option. shill nQt be exercised by Lender if such exercise ls prohibited try Applicable Law.
            If Lender exercises tWs option, Lender shall give. Borwwer notice of acc.ele:ration. The notlce shall
     pro\1de a period of Mt less than 30 days from the date the notice is given in accordance wirh Section 15
     \.Vi.thin which Borrower must pay all sums secured by this Security Instnunent If Borrower fails to pay these
     smns prior to the expiration of thls peiiod, Lender rnay in.voke any remedies permitted by tllis Security
     Inst11JJtJent without further notic-e or demand on Borrower_




LIBOR ADDENDUM TO -NOTE                                                                        Docf!t1a;J}icf!:'fl1.~~1lili.~ eoo-t•~:9'- ~ 362
FORM 1201 1-01                                           Page 1 of 2                                           www.docmaqic.com
                                                                                                                        • Page 22
                                                                                                                           Exhibits 1
                      12-12020-mg             Doc 6045-3         Filed 12/09/13 Entered 12/09/13 15:17:10                             Exhibit
                                                                       Pg 23 of 62



                     In VI.Jitness Thereof, Trustor has e.xecuted this addendum.




                 Witness




                 Borrower Signature                                Date            Bortower Sig1lature                                 Date

                                                                             ...


                 Borrower Signature                                Date            Borrower Signature                                  Date




                 LIBOR."'ADDENDl)M TO NO"TE                                                              Oor.:MJJgJct(~"Wi.m; soo-011l- t 3ii2
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                    12-12020-mg                        Doc 6045-3   Filed 12/09/13 Entered 12/09/13 15:17:10                 Exhibit
                                                                          Pg 24 of 62




                                                             ADDEl\IDUI\'1 TO NOTE
                  This addendum is made OCTOBER 2 0, 2 0 0 4                              and is incorporated into a11d deemed to
             amend and supplement the Note of tile same date.

                      Covering the property described in the security instnuneilt and located at:
             27495 HIDDEN TEAlL ROl\D, LAGUNA BILLS, CALIFORNIA 92653
             A.mend;;il l'>oiii$o:ns:
                    In addition to the provisions and agreements made in the Not~:, I/we further covenant and agree tiS
             follo·ws:

             Botn1'Wer's lli.g'hllt ito P£epay:
                   I lh.a:ve the right to make payments of pri.ncipal at any time before they are due. A p<ryment of pr1ndpal
             only is lmovv:n as "prepayment " \illhen I make a prepay1nent, I will tell the Note Holder i~ writing that I a.m
             doing so.

             Subject to the prepayment penalty specit1ed belo'N, r may make a full prepayment or pi1rtial pr-epay~ef!.t~ of
             my obligation. The Note Holde!. wm use all of 1ny prepayments to n~du.ce tii.e amount of principal that rowe
             under tins Note. If I: make a p~nii.i.ll prepayment, there wil.l.be no cinalllges in the due date or in the ammmt
             of tny monthly pajlnent u.nless the Note Holder agre..es in w'riting to those changes.

             lf I make prepayments of th.i:s loan during rhe first 2               . years of the NOi·e term, beginniog on tl1e ·
             date this Note is €)(jet:uted, I will llilJ a prepayment penalty in the amount of    silt
                                                                                                  illOillths ' advance interest on
             the amount by which the aggregate prepayments made withln any consecutive twelve month period exceed
             twenty percent (20%) of the origin~]. pril1cipal \lmount No prepaymeii.t IJlen.:tlty will be assess,::d for any
             ptepayment made after the first            2             years of the Note term.

                   Not v;·jthstanding the foregoing . in £he evem of a full prepaymMt concurrent with a bona fide sale of
             the Proper!)' to an unrdat€!d third p~rty aftet the first    6            nwnth(s) of the term. of the l\fore,
             no prepayment penalry ·wm be assessed. In that event, I <1gree to J)mvide dle :f\Jote Holder with evidence
             acceptable to the Note Holder of ~uch sale.

             The Note Holder 's failure to collec.t a prepayment pe~lalty ill the tiline a. prepayment i:S received shall not be
             deemed a waiver of such penalty <md any such venalty calculated in accordance with tJJ.is section shaH he
             payable on demand.

             A.ll other lerms and COI!ditions of the above ref.erenced Note remain in full force at1d effect.


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                                                               .    Date     Borrower                    -,                 Date
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              JUHN CIRINO                                                    SEPIDEH CIRINO
             Borrower                                               Date      Borrqvver                                     Date


             Borrower                                               D:).te                                                  Date



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            DEFINITIONS

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            1 3 . 1 S. 2 0 and 2 1. .                   C e nain rule s reg a-.:-di.n.g tbe 1.1-s-3ge of'vvords used in. ~1-l:ls do'J-c\.-u:n.e nc a:1·e :o:\l.$.0 provlded :i.n Section 16.

            (A)             " Secu.ri"ty Jns-<rurn e nt." rn.eaos 'this docu.:. o:1 ent, vvhich is dated                                                                OCTOBER               2 0 ,      2 0 0 4                        t ogether
            -,.-.rf"t h    all R.iders: •o tbis doc:::u.rn en ( . .
            (B )           "Borrow-e r •• is JOHl'J                               CIRINO                      AND                 SEl?IDEH                        CXR.:X1"'Z'O ,.     HOS:S.?-_1..1 0      ~...10      WIFE             AS
             CO ~M UNITY                               PROPERTY

            Borro......ver is t he -.::rustor u-nder th..i s Securi'l;)l" Xn.st.:r"""u7nenc .
            (C )   ''Lend er•· is A.LLIAl.'ICE                BA1'TCOR.1?

            l......:nde:w: :is a      C A L I F O RN I A..                           CORPORATION                                                                                                                                  ocg:::u-rlzed
            and existing under d a.e la'\.IU"s of                                        CA L :C FOl.~ :LA
            L ender ' s          a.ddx-ess is               9:1..       WESTBOROUGH                                         BL"VD . .                  #200 ,             SOUTH             SAN         FRANCISCO,
            CAL.IFOFtNI.A.                               94 0 80
            (D)  "Tru s , ec" i.S TXCOR T I T L E COMPANY
            :1.440  N .     HARBOR B L VD ,    SUI 'I· E ~08,                                                                                  FULLERTON                              CALIFORNIA                    92835
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            o Cl?.O_ :Sox 2 0 2 6 . . Fl..i:a:lr.. . :rv:a                        485 0~ -2 026.                 t e l . (SSS) 679-MERS.
            (F)  ··Notf:- means the: pron."J.iss ory :note sign.ecl by Bo:rro"-ver n..:nd d.at.ed              OCTOBER.         2 0 ,    2 0 0 4
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        Funds fo.r· .a.T.a.J-¥ or all Esc::.:ro'"v l:(e.-ns at a.ny ti.n :u i!l. A..x.ty su.ch. v..-.aive r n -:t.ay or.ly be :i:o.. XN"ri:r::i n~ . l.n. "l:he e:ven:t o fs"\J.Ch vv:aiver¥
        Bor~o,'Ve:r shaH pay d.irectl....v. "\'Vl".~.~n .:Ul.d "1.-~l"a.e:::re payable~ t.he -a.mau.n.t.s due :for any E.scro...-.., It.exns fo:r ""t~Ybic:h pay:rne:n.t o£"
        Funds h.a:; been -.....vaived b _                y Le:nder and, if" Len.der re.qu...lres. shall furn.ish to Lender reoccipts evidencing :Su..ch. payn.-.e~.Lt::
        -vvi.1b..:in s uch. t:lrue period as Lender xnay require . Eorro,ver ' s obligaUon to n"lake s u.ch pa:ya::nents .and "to prO'Vide receipts
        ~l'"a.&.ll for all purposes: be de.er.u.ed to be c-. covcn.n.::o.t and .agree:z:ne:n.(. cont.a.ined i.r:l. -this S-ecurity- .l:nsl:.J;"""""U.:f"".J::t.e:uc:. as "tl:u~ phraSe
         "covenant: il :O.d :ag-reernen..C" iS u:sed in Section. 9. If""EorrO '-V ~r i s obl:Jg:at:e:d a::o fo~-ay ::E:scru-ov X"texns <.liJ:"ectly. pursuant "t.O
        a "'t!Va:i:ver~ and Eorro"VU"e.r f'-03-.il.s to pay the arno-un"t dc..e: for an Esc-row Ite:n:~.. Lender roay exercise i.t:s. rights undt!r Sect.iQn.
        9 3-nd pay s ·o..ch ;unou..n.t: and Borrower s!".L.:i.]J o.... e:n. be oblign:"ted u:n.de-r Sec(ioo 9 t.o repay t:o Len.der :p.ny s u c h a:tuo-ant:.
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        at Lb.e ti.n:.ae :s..peci1:i.ed. und er RESPA.. and (b) :.not t.o exceed "th e ma........-i.:o:l.orn a:rn.ou.n t a lender can re-q-u.lre Ull..der RESP.A..
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        enU:ty (bl.clud:i.ng Lender~ :it:- Le:n.de.r is ;-•.n i.:n.stltu:tion "'\ovbose deJloo~i't='> are .s::o ir..&.Su.rcd) or in any Federal )-:J:o:n::u~ Loan
        B~k. .            L~n.d..~ :sh....-s..U :o:o..pply tJ-.e Funds "to pa..y ·t:h.e Escrow Items :no late r t.luu.t ..Ju·~ d.Jr:u.-e ~--pec:.i..fied ~u1.der RESPA.              L~:n.d.er


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        11="-o..-....... aoos 0"1 / 0 1                                                P~!:Jb ,.... o r ., -1                                                      . . ., .......-....v. Uol=:.'7"1-~Fc::. .co.rn



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                                                                                                                                                                                       Exhibits 2
                                                                                                                                             /.-.....
                   12-12020-mg                     Doc 6045-3        Filed 12/09/13 Entered 12/09/13 15:17:10                                                                                    Exhibit
      sh~). P-Ot ch~ge        Borrovv-er :f"or holding .and a.pply:in..g the
                                                                             Pg 29    of 62 Fund...~~
                                                                                 an..nu3l.ly ar!oal.J""Zir.lg e..scrov.r or       't:h-e                .a.ccoun.t~             ""V e:rl:f).~ing
      Lh·e Escruv..' :i'l:en"ls . unless Lender pays Bo·CTower ln:terest: on t:hoe: Funds and Appllcable La,.,v pern:l1ts I....ender 't:o 1no:\ke:
      such :n charge_ Unlr=ss an. ~eexnent is made i.n ~ritin3 or ..A..pplic:::able La"'.-v requ.ires :in:t.erest £0 be p.a:id on. th.e :Funds,
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      a1fu::J.u:al .a.c.-co'-U"' ti11:Jg oftl:a.e l.~u:.-.. ds as re.qu:i:.l.·ed by RESF.A..
                Xi:~ th e re: is a :sl.l...rpb.1s o f F""'U.l':l.ds held i n esc:ro"""' .. 3S det~ed un.der R.ESF"A.~ Lender shall :a.ccou.nt. to BorrO"\..V e£" for
      tl ..e excess funds i n accorda:n"ce 'Wl'th R.ESPA. Ift.h-ere is a shortt,ge- of Funds hcld in. escro"\-V~ a.s defined under RESPA.
      Len.der s:h::U.l :Jo"'.ati.:f::>" Bar.r-avo.;er :s.s requ:ircd by RESP.A..,. 3.r:Ld Borrower s.h.aJ l pay t.o Lender tbe- 3..:1'T10li.LD.t n.ec:ess.a.:cy t:o D3:a.ke
      up the .sbo-.~.""t:age bl. a.c-c.o:rdan.ce '\.Vlt:.h R.ESF.A~ but in no more than 12 :nl.O'l'l.thly payn"'l.ents . If there is a deficien.ocy of
      F-.....:n.ds held in e!;;CrD'V\..·,. as defi.n.ed under RE.S:PA. Le:r:1der s'tta.ll uotitY Borro"'CX.·er as requ.ired 'by RES"P.A. ,.. aud BoTro~er
      shall pay 'to Lender tl1.e arnou.:n.t necessary to rn.:ake up ilie de:fic:ien..cy in accordance '>Viili RESPA. but b'l. oo x-nore t.h-.-...n
      :t2 monthl.y p:::.).rx:n.en.t:s _
           "Llpon payn'le:n.f. in. full of all sums seco.red by t~d.:s Secu.a.·ity In.s:-\ru.me:v.t~ L-e:n.d~ shal l                       p:ro:n::-p-tly r eC'I.,U:lld to :Sol';'T:ovver
      any Funds h eld by Lender_
              4.    Ch.ar ge:s.; Lions. Borro'\-Vo!r s~U pay aU bxes . t\.Ssessme.:n.ts~ ch~es. fin-e~. ;;lnd ip:aposi.tions att:ri'b'l.l~ble to
      the Property '\..Vhieh cn:n n:rc.a:i:n priorlcy tY"V'er "this Secu.a."i.ty l:J.l.Sb""u.:l'".J."u~·.-.~-1:. leas.ehold pa~en.TS or grou..n.d r~l'1't.S on 't..hc
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               Borr ower. sl:a..al l p:rorn.ptl.y d..i.=s;cba.rge axa.y lie:.n vvlrlch has priority O"Ver t:h.i.s Seeu.:.-ity' Inst.:ru.coen.t u..:nless: Borro"<>Ver:-:
      (.a.) agrees in "'VV7ri'ti.ng 'tO th e payment of ilie obligation secured b y the Uen 1n a xua.nner acceptable t.o Lender . bu:t onl y
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      e.nCorcernen1: oftl:..-e lien in, l eg.Gl. proceedings which in. Lender ' s op:l:n1on opera:t e 'lO preve:o:t IDe en:Co.rcen').e..:a'l of' 'the 1ie11);
      "QV'hil e iliose p..-oceedings are pend.J.ng,. but. only until such proceedings LU"e concl:ud ed ; o:c (c) secures l""coxo. t:be l"J.older
      o:r Cho ben ~ :ol._g-..·eez;nen.t S(l.C:.isf"":p..c.tol.J' t.o Lender su.bo:x-dinu.ti.og 'the lie.c. to tbi.s Secu..rity 'I ns·trnrn.e:n.t.                     I£' Lc:~lLde~
      dete'X"JJ'D..i:n.e.s that a.n.y part o£ the P:ro-pe~ i.s subject t:o a li en ""<N')t:ic_.a. can. attain prioriXy over thiS Se<:u.rity I.nsCruD'l.e.:nt~
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      Borro--..xrer s b.a.ll. satis:f'g the !Len or 'Gak.e one or :«aore oC Lhe ac t ions se'l f"o..-th. above i.o. d:..i:s Section 4.
               L..e:nder may requ.:ire Borro~-ve:x- t:o pay a on.e-ltixn.e charge :f"or a. real est:n1.e t a....""C. verific.a.:tio:n.. a.:ncl/or reportir.l.g ser"V'i.ce
      used by Lender n-.. connection. vvith. dll.s Loa.:n...
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      P1:-operty insured against: l-oss by :fire .. hazards included vvithin the ter:rn "extended coverage .. " a:n.d any oc.her h a..z..a.rd:s
      indu.d.i.ng. b-ut. not: l.:Un.it:ed to .. ear-,.hqu::r..ke:s: a nd :t'loods . for v-othieh Lende:r requires i.nsUT:ance .. This insurance shal l be
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      t..i..rne cha£"g:e £or flood zon.e de:ter:rn.i:n.at:ion .. certification :a.nd track.in.g s~<:e.s; or (b) -3 or.te-tin'\e charge for t.l.ood zone
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      any fe-es imposed by "the Federal Eme-rgency 1\.-l"a.J.'lagemeo'l Agency in con:nc=ction ~it:h. "t.he ce"V"i:~"(l(( of 3.ll'lY flood zone:
      del:ermi..:J:J.atio::n res:u.lt:in.g frC:.J'XI. 'tUl. objection. b y l3orro-w.;:r _
                Xf :Borrower C"3..ils 'to mai:nt::a:l.n a:::rlY of t.be coverages described a bove_ Lender Yn:ay ob'tain. i.n.S'l.l..-ance co-verage .. at.
      Lender "s optio n. 3:n.d Borrower"s: ~e:nse. Le:n.de:r is -un.der :no oblig::s.tio:n "to- purch-~e ~y pa~ticular cype -or aYnO'On"t
      of coverage. T h erefore. such coverage :shall cov er Lender. but: nllght: or m:lght not pro tect Bo:rro...,.ver ~ .Bor:ro'Wei'"s
      -e.q·u:i:~ ia11 -.he P:.w:op~.;-ty .. or t:.he cort:c:el'.J.tS of ili-e PJC"Oplbr't)t" .. a.g:&:i:O.st: any risk. ba.2:::a.rd or 1i~bi.U:ty ~d liX'Li.gbt plt'o·vide great~
      or l esser coverage t l:.a.n was previo u s l y i.n effect.. Borro.....v er :ack::n.o'Wle-dge:s "that th-e cost o~ the i:nsuran~ cover"'3.Se s;o
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      u.pon. notice frQm Lender to Borro"'t!Ver :requestln,g payn:a.en"t.



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                                                                                                            Pg 30 of 62
                                        .AJ.i fn.su~..n.ce policilf!:S required bY Lot:::ndc:t' a.:n.d ..~-en.e~'<ri.7ll..s of .su.cl't policies s.hall b e subject "to Leo dec ' s right t.o
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                           No1:e ·cx.p w:o t h..-:;: :t"l.U'•.Ou;.-:..Y ofT.h~ o u . .-r: ~t:andin.g lo:..:.u-... bal..:.:.r.u::c. Lendc:r s.h:tlll b,.,.ve -the a-:ight: to l~old tlle polici es and r-en..e'VV'.al
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                           or •cep.ai.r oC l:.be Fropercy-,.. i f ~e re!>.-r:o:ra.J:1cu'L or repair i s economically f,::_asible a:u.d Lender ' s secu.:ri.ty is not l essened.
                           Du.ring Sl.lCh l.'epv..ir n :n.d restora-tion period. Lender sb.a.f l have "the right to hold such insurance pro~eed:::;.. u.:o.til L..o=::r'.lder
                           has h a d :an op-po:rt'U:n.i.'ty· t:o in~pect such Property to ensure 1:he "'\..Vork .bas b~e.a c.:::.O"J..(>le:.:ed "t:O Lender's sati.s£ac tion .
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                          retained b y Borro'<>Ver s.J-,_-:L.l.] n.oc: be paid Qu.t of tlt e i'J"J s.:u-an.ce proce-e-ds and shall h e the s:o~e obl.igat:ion of'" Borro"'i..ve.:~
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                                       l:J::- :&o.rro""'e.r abandons the Property. Lender may file. n.egotia'te :,u-,.d settle :;;u::loy avallabl e :i.n.su..ra.Jn.ce c t aim and
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                          not1ce :is given . :l":z'lt. either event.. or i£' Lender ~cquil.-es 'the :Pr-o percy under Section 22 or oth.e~vi.se , Borro--wer hereby
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                           12-12020-mg                           Doc 6045-3                   Filed 12/09/13 Entered 12/09/13                  (        15:17:10 Exhibit
                             S.        Borro,....~.er's Loan _.i\..pplic~Lion.
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                12-12020-mg                        Doc 6045-3                      Filed 12/09/13 Entered 12/09/13 15:17:10                                                          Exhibit
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                                                               Pg 51 of 62
B6A (Official Form 6A) (12!07)


InnSe~\\ ~
         Debtor ~
                  s~\\'-1\ c:~\~(~
                                            SCHEDULEA-REALPROPERTY
    Except as directed below, list all real property in which the debtor bas any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's o1.Yn benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H,~
"W," "J,n or "C" in the column labeled "Husband, Wife, Joint, or Conu:nunity." If the debtor holds no interest in real property, write ~one" under
"Description and Location of Property."

   Do not include interest$ in cX(CUtory contntcts and unexpired leases Qn this schedule. Lis t them in Schedule G- Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any properly, state the amount of the secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write "None" in the column labeled uAmount of Secured Claim."

   If the debtor is an inclividual or if a joint petition is filed, state 1hc amount of any exemption claimed in the property only in Schedule C- Property
Claimed as Exempt.




              DESCRJPTJON AND                                                                      CURRENT VALUE                     AMOUNT OF
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                                                                                                   SECURED CLAIM
                                                                                                   OR E.XEMPTION




                                                                                (Report also on SutnDl!ll)' of Schedules.)




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                                                                                                                                   Exh ibits 4
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    B6D (Ofrtcial Form 6D) (12107)
                          In re                     Sepideb Sally Cirino
                                  --------~~~~~---------
                                                                                                                       Case No.                   8:11-bk-22081-M\V
                                                             Debtor                                                                                        {If known)

                                   SCHEDULED - CREDITORS HOLDING SECURED CLAIMS
               State the name, mailing address, including zip code, and last four digits of any account number of al l entities holding claims secured by
    property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
    to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
    judgment liens, gamislunents, statutO!}' liens, mortgages, deeds of trust, and other security interests.
               List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state tl1e child's initials and the name and
    address of the child's parent or guardian, such as "A. B., a minor child, by John Doe, guardian ." Do not disclose t11e chi ld's name. See, II U .S.C. §112
    and Fed. R. Bankr. P. 1007(m). If all secured creditors wi!l not fit on this page, use the continuation sheet prov ided.
               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an '·X'' in the column labeled •'CodebtOT," include the
    entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
    both of them, or the marital community may be liable on each claim by placing an "H," "W," "J,'' or '"C' in tiJe column labeled ·'Husband, Wife,
    Joint, or Community."
               If the claim is contingent, place an ·'X" in the column labeled ''ContingenL" If the claim is unliquidated, place an "X'' in the colwnn
    labeled "Unliquidated." lfthe claim is disputed, place an "X" in the column labeled "Disputed.'' (You may need to place an                                     ··x·
                                                                                                                                                 in more than one of
    these three columns.)
               Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and ·' Unsecured Portion, if Any'' in the boxes
    labeled ~Total{s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claiin Without Deducting Yalue
    ofColiater<tl" also on the Summary of Schedules and, if the debtor is an individual w ith primarily consumer debts, report the total from the column
    labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain L iabilities and Related Data.


               D         Check this box if debtor has no creditors holding secured claims to report on this Schedul e D .
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                                    Debtor                                                                      (ifknown)

                                           SCHEDULED - CREDITORS HOLDING SECURED CLAIMS
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 Claims
                                                                                      Total(s) .,._                                                      $ 41 7,737.00
                                                                          (Use only on last page)
                                                                                                                              $1 ,65 6,468.00
                                                                                                                              ( Report also on           (II uppl Jcable,
                                                                                                                              Sununz,ry of Schedules.)   report also on
                                                                                                                                                         Statistical Summary
                                                                                                                                                         ofCenain
                                                                                                                                                         Liabilities and
                                                                                                                                                         Related Dnta.)




                                                                                                                                                                         Page 53
                                                                                                                                                               Exhibits 4
12-12020-mg         Doc 6045-3
                          ('
                                      Filed 12/09/13 Entered 12/09/13 15:17:10         Exhibit
                                            Pg 54 of 62


                         NOTICE OF OPPOSITION TO
                MOTION FOR RELIEF FROM THE AUTOMATIC STAY


From;
SEPIDEH SALLY CIRINO
27495 HIDDEN TRAIL RD ,
LAGUNA HILLS, CA 92653
Hereinafter collectively referred to as "Claimant"

To:
BRIAN APAINO (SBN 251243)
CATHERINE T.VINH (SBN 269020).
JOSEPH Di;:LMOTTE (SBN 259460)
PIT! DUNCAN , LLP
4375 JUTLAND DRIVE , SUIT 200, P.O BOX 17933, SAN DIEGO , CA 92177-0933
Telephone: (858)-750-7600 Facsimile: (619)-590-1385
Hereinafter collectively referred to as Attorney for "MOVANT"

MOVANT: (ALLEGED CREDITORS) WELLS FARGO BANK, N.A AS TRUSTEE FOR
HOLDERS OF IMPAC SECURED ASSETS CORP, MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2004-4 ' •,

CASE NUMBER: [8 :11 -bk-22081-MW]                           JUDGE: Honorable MarkS. Walla(;e
                                                            CTRM: 6C

October 31, 2011
                           NOTICE OF OPPOSITION & DISPUTE;
                      DEMAND FOR VALIDATION AND PROOF OF CLAIM

To Whom It May Concern

       This letter is being sent to you in response to an unsigned , computer generated letter
received by Cla imant from your offices. Be advised that your claim is disputed and validation
and proof of claim of the disputed debt is requested in accordance with the Fair Debt
Collection Practices Act, 15 USC § 1692 and as amended by addi'ng the foll owing new
Title 8 USC§ 802 et seq., and the Fair Credit Billing Act, 15 USC.§ 1666 et seq. All of
which work in conjunction with each other, inclUding the Truth In Lending Act (TILA) 15 USC
1601 et seq. and the amendmenttb the required notice under th e. Act must include all of
the following information in order to fully comply with Section 131(g) of TILA [15 U.S.C.
1641(g)], the newly amended section of TILA:

       (1) The identity, address, and telephone number of the new creditor (including the name
       of the trust; the date of transfer;
       (2) How to reach an agent or party having authority to act on behalf of the new cred itor;
       (3) The location of tile place whe re transfer of ownership of the debt is recorded ; and
       (4) Any other relevant information regarding the new creditor.



NOTICE OF OPPOSITION TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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12-12020-mg         Doc 6045-3        Filed 12/09/13 Entered 12/09/13 15:17:10                Exhibit
                                            Pg 55 of 62


        It is not now, nor has it ever been, my intention to avoid paying any obligation that is
lawfully owed by the Claimant. In order to make arrangements to pay an obligation which may
be lawfully owed , please document and verify the "debt" by complying , in good faith, with this
request for validation and return it to me , within thirty (1 0) days of receipt of this letter or at the
                                         .
hearing scheduled on November 14th, 2011 at 9:00AM CTRM : 6C .

Based on this computer generated letter received , the Claimant has had their Deed of Trust,
Note and Assignments researched and several inconsistencies where found regarding this
aforementioned alleged "debt". These inconsistencies include, but are not limited to, the owner
of the "debt" and amount of "debt". Therefore , the Claimant is requesting a FULL, COMPLETE
AND ACCURATE VALIDATION OF DEBT AND PROOF OF CLAIM FROM THE
RESPONDENT.


Below is the Trust in which I believe according to the characteristics my loan is possibly
securitized in:

[Trust]

IMPAC SECURED ASSETS CORP. Mortgage Pass-Through Certificates, SERIES 2004-4

While the research could not definitely state the status of this alleged loan , it was explained
there are several reasons that can ~ccount for why this loan may not be present in any of the
mortgage pools. One reason would be that the loan was never securitized.

In this first case the original lender would have the loan in its portfolio and should be
abJe to produce the original documents.

The second reason is that it is an agency loan which fits into the guidelines of Freddie
and Fannie Mae which means th~t originators would sell them to Freddie and Fannie
Mae who does not offer full transparency (in this case the loan amount exceeds the GSA's
guidelines and it is unlikely for it to be in that pool) .

The thi rd reason is that the Trustee reported the information incorrectly and it cannot be
listed due to liability issues with the data. Or lastly the information cannot be found and
is n.ot readily available and the documentation is lost never to be seen again.

Due to the uncertainty of the status of alleged loan account, this is NOT a request for
"verification" or proof of Claimants mailing address, but a request for VALIDATION and
PROOF OF CLAIM made pursuant to the above named Titles and Sections. I respectfully
request that your offices provide Claimant with competent evidence as per the attached
"Declaration and Proof of Claim" that I have any legal obligation to pay you the unsubstantiated
alleged debt. Furthermore you shall cease all ve~bal commun ication. No further phone calls will
be made to the Claimant



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NOTICEOF OPPOSITION TO MOTION FOR RELIEF FROM THE AUTOMATIC STA Y
 12-12020-mg        Doc 6045-3        Filed 12/09/13 Entered 12/09/13 15:17:10         Exhibit
                                            Pg 56 of 62


At this time I will also inform you that if your offices have reported invalidated information to
any of the 3. major Credit Bureaus, such as, Equifax, Experian and TransUnion prior to
validation arid proof of claim of the disputed debt, this action might constitute fraud under both
Federal and State Laws. Due to this fact; if any negative mark is found on any of the Claimants
crec;iit reports by your company 0~ the company that you represent, I will not hesitate in
bringing legal action against you and your client for the following :

-Violation of the Fair Credit ReRortlng Act, 15 U.S.C. § 1681 et.seq.
-Violation of the Fair Debt Colle:ction Practices Act 15 U.S.C. §§ 1692-1692p
- Defamation of Character       .,
-Vio lation of United States Coc!e TITLE 18 PART 1 CHAPTER 63 § 1341 (Ma il Fraud)

This debt is considered to be invalid until I receive proper val idation and your offices provide
Claimant with proof of claim of the 'disputed debt Your offices have 30 days to produce the
required documentation in accordance with FTC guidelines or at the scheduled hearing on
November 141h at 9:00AM in CTRM : 6C.
During this validation period and proof of claim, if any action is taken which could be
considered detrimental to any of Claimant credit reports, said action will be considered a
"dishonor" and cause the self~executing contract portion of this notice to be implemented. This
includes any listing any information to a credit reporting repository that could be inaccurate or
invalidated.

If your offices fail to respond to this validation and proof of claim request within 30 days from
the date of your receipt, all rt?ferences to this accoun t must be deleted and completely
removed from Claimant credit file and a copy of such deletion request shall be sent to Claimant
immediately.


Title 8 USC§ 809. Validation of debts [15 USC 1692g]

(b} If the consumer notifies the debt collector in writing within the thirty-day period
described in subsection ( D~te of Notice from counsel October 181h,2011) (a) that the
debt, or any portion thereof, is disputed, or that the consumer requests the name and
address of the original creditor, the debt collector shall cease collection of the debt, or
any dh;puted portion thereof, .until the debt collector obtains verification of the debt or
any copy of a judgment, or the name and address of the original creditor, and a copy of
such verification or judgment, or name and address of the original creditor, is mailed to
the consumer by the debt collector.

BLACK'S LAW DICTIONARY:

VERIFICATION: The Confirmation of correctness, truth, or authenticity by affidavit, oath,
or deposition.




NOTICE OF OPPOSITION TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY
12-12020-mg         Doc 6045-3
                        /             Filed 12/09/13 Entered 12/09/13 15:17:10           Exhibit
                                            Pg 57 of 62


                   NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT
                   NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL
                                 Applicable to all successors and assigns
                              Silence is Acquiescence/Agreement/Dishonor


Executed on th is 31th day of October, ~P ll by, _ _ _ _ _ _ _ _ _ _ _ __ __ _ __
                                         -        SEPTDEH SALLY ClRTNO

This is the second party that has written a letter purporting to represent, or have as their client,
IMPAC SECURED TRUST ASSETS CORP., MORTGAGE PASS-THROUGH CERTiFICATES
, SEIUES 2004-4 .The first MER3, was not registered as a debt collector in California and they
have not answered the debt validation request presented to them. This is Notice that I do not
recognize the MOVANT from which the Claimant has received a computer generated debt
collection attempt, and I must necessarily dispute part, or all, of the alleged debt until the
following is received:                 '

           CREDITOR/DEBT COLLECTOR DECLARATION and PROOF OF CLAIM

 Please provide all of the following information and submit the appropriate forms and
 paperwork back to me along with an Affidavit signed In Accordance with 28 U.S.C. §
 1746 within 30 days from the date of your receipt of this request for validation and
 proof of claim .

       1. Original wet si gnature Note under U.C.C ARTICLE 3 -§3-501 (b) 2 (1 ). along with all
          endorsements affixed to the Note
       2. A copy of the original Deed of Trust with all assignments attached
       3. Alleged Name and Ad dress of Creditor (Trust number & name and Trustee of the
          Trust)
       4. Name on File of Alleged r;>ebtor:
       5. Al leged Account#:             . ,.
       6. Amount of alleged debt:
       7. Date that this alleged debt became/becomes payable:
       8. Date of original charge off or delinquen cy:
       9. Amount paid if debt was purchased:
       10. Please attach a copy of any signed agreement alleged debtor/claimant has made
          with debt collector, or oth ~r verifiable proof that debtor/claimant has a contractual
           obligation to pay debt collector.
       11 . Furnish a copy of the ORIGINAL PROMISSERY NOTE /agreement redacting my
            soCial security number to prevent identity theft and state that your client named
            above is the holder in due course of the note agreement and will produce the
            original for my own: and a judge's inspection should there be a trial to contest
            these matters.



NOTICE OF OPPOSITION TO MOTION FOR RELIEF FROM THE AUTOMA TI C STAY
12-12020-mg          Doc 6045-3        Filed 12/09/13 Entered 12/09/13 15:17:10          Exhibit
                                             Pg 58 of 62


       12. Produce the account and general ledger statement showing the full accounting of
          the alleged obligation that you are now attempting to collect. Such as ; FR 2046
           balance sheet {OMB #'s 2046, 2049, 2099), 1099 OlD report, S-3/A registration
           statement, 424-85 pros pectus, RC-S & RC-B call sc hedules
       13. 1dentify by name and address all persons , corporations, associations, or any other
           parties having an interest in legal proceedings regarding the alleged debt.
       14. Verified specifically, name(s) of person(s) assigned as Trustee to handle
           Corporations affairs and to be held accountable for the actions of the Corporation .
           Such as CFO and subordihates responsible for debt collections .
       15 . Verify as a third party debt collector, you have not pu rchased evidence of the alleged
            debt and are proceed ing with collection activity in the nam e of the original maker of
            the note.
       16. Verify you know and understand that certain clauses in a contract of adhesion , such
           as a so-called forum selection claus e, are unenforceable unless the party to whom
           the contract is extended could have rejected the clause without impun ity .
       17. Provide verification from the stated creditor that you are authorized to act for them .
       18. Verify that you know and understand that contacting me again after receipt of this
           notice without providing procedurally proper validation of the debt constitutes the use
           of interstate communications in a scheme of fraud by advancing a writing, which you
           know is false with th ~ intention that others rely on the written communication to their
           detriment a violation of United States Code TITLE 18 PART 1 CHAPTE R 63 § 1341 .


OPPOSING THE MOTION FOR RE~IEF FROM THE AUTOMATIC STAY,
Dated this 31th day of October, 201 1.



By:
        SEPIDEH SALLY CIRINO (expressly all rights reserved) ,
        Real Party in Interest, Live breathing [Fem ale]




NOTICE OF OPPOSITION TO MOTION F OR RELIEF,.FROM THE AUTOMATI C STAY
12-12020-mg           Doc 6045-3       Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit
                                             Pg 59 of 62




State of California           )
                              ) ss.:
County of Orange              )


Subscribed and sworn to (or affirmed) before me on this _ _ _ _ _ _ _ _ day of

_ _ _ _ __ _ _ , 2011 by_ _ _ _ _ _ _ _ _ _ _ _ _ _ , proved to me on the

basis of satisfactory evidence to be ~re person who appeared before me.




       Notary Public Signature




       My Commission Expires                                [SEAL]


cc:
       1. FILE                          ·· ~

       2. [Clients State] SECRETARY OF STATE
       3. [Clients County] COUNTY RECORDER




                                         ·'·




NOTICE OF OPPOSITION TO MOTION FOR REliEF FROM THE AUTOMATIC STAY
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                                                         Filed 12/09/13 Entered 12/09/13 15:17:10                                    Exhibit
                                                               Pg 60 of 62




                                                         R<!eord ed In Official Record s, Orangti County

                                                         Tom D aly, Cleric-Recorder

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                                                             mrmv.mlliiHm
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Requested and Prepared by:
ETS Sorvlces, LLC                                                    20110000286 19 04:04 pm 01/14/11
                                                         10 405 A32 1
When Recorded Mail To:                                   0.00 0.00 0.00 0.00 0.00 0.00 O.DO 0.00
ETS Services; LLC
2255 North Ontario Street, Suite 400
Burbank, California 91504-3120



Loan No.: 0359106018
TS NO: GM-274223-c

                                            ASSJG NM\:NT OF DEED OF TRUST

For Value Received, the undersigned corporation hereby grants, assigns, and transfer$ to:
                                                           ·· I
WELLS FARGO BANK, N.A., AS TRUSTEE FOR HOLDERS OF IMPAC SECURED ASSETS CORP.,
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2004-4

all ben~flclal interest under that certain D~ of Trust dated: 10120/2004 executed .by •JOHN
CIRINO* AND •sEPiDEH CIRINO•, HUSBAND AND WIFE AS COMMUNITY PROPERTY, .as
Trustor{s).to TICORTITL.E COMPANY, a~ Tnu>tee, and recorded CJslnstrument No.
2004000976411, on 1G/29/2004, In Book XX, Page XX of Official Records, In the office ofthe
County Recorde.r of Orangtt County, California together with the Promissory No~ secured by
said Deed of Trust and also all Tights accrued or to accrue under said Deed of Trust.

DATE; _...(,t/J'-'t"""/_-J!.l::..!<-
                                 -p:.L./1 ' - - - - - - - ' I•
                                                                MORTGAGE ELECTRONIC REGISTRATION
                                                                SYSTEMS, INC.
                                                                       /} ,_,. ,, /.;l
                                                                     / L/Xt11tt
                                                  Jacob Rifldef                             /{s-s-.J-1""':;.. S,c. , ,r c f <'-?
State of ~t,                                       ?SS.
County of         7\.;l~                           }

On   \U{ l   Y},{;\ I J.?efore me,             ~{1\N'J\Mt\\1\ ~\A~ffi\    . Notary Public, personally
appe01       Ji3C.Q\IJ ~1/kk                         ·                 who proved to me on the basis of
satisfactory evidence to be the person(s) w;,ose name(s) is/are subscribed to the within instrument and
acknow!ed9ed to me that he/she/they executed U1e same in his/her/their authorized capacity(ies), and
that by hisJherlthelr signature(s) on the instrument the person(s), or the entity upon behalf of whi.ch the
person(s) acted, executed the instrument.

r certify under p!:lnalty of peijury under the laws of the State of             I·!<Va.S                    that the foregoing
paragraph is 1rue and correct.

WITNESS my hand and offici al seal.
                                                           !    1:



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                                                                                             !·~t\ Notary Public, St819 of Taxos
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                                                       Pg 61 of 62
ETS
PO Box 9032                                                                                                                      PRESORT
Temecula, CA 92589-9032                                                                                                        First-Class Mail
                                                                                                                              U.S. Postage and
                                                                                                                                  Fees Paid
                                                                                                                                   wso
                                                 7196 9006 9295 1637 4370
Serid Payments to:
ETS
2255 N. Ontario Street
Su ite 400
Burbank, CA 91504




                                                                                  TSN : GM-274223-C
                                                                                  20 110427-56
Send Correspondence to:
ETS
2255 N. Ontario Street
Suite 400                                         lllllloJi ololl noiJIJ ooll. ,Ll,l.,l .l.,,l ,l, l,l.looo loloollo ol
Burban k, CA 9 1504                               SEPIDEH SALLY CIRINO, CO-TRUSTEE OF THE CIRINO FAMILY TRUST
                                                  DATED APRIL 25 , 1995
                                                  27495 HIDDEN TRAIL RD
                                                  LAGUNA HILLS , CA 92653-5875




      ~~~
      ~
                                                                                                          CANTS_ CERT IFIED
    :::-..    · '      12-12020-mg                    Doc ~r6045-3
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                                                                                          Pg 62 of 62
                                                                                                                THIS IS TO CERTIFY THAT THIS IS A FULL,
~     RECORDING "REQUESTED BY:
                                                                                                                TRUE AND CORRECT COPY bF THE ORIGINAL
                                                                                                                RECORDED IN THE OFFICE OF THE COUNTY
                                                                                                                 RECORDING FEE:_ $:.. .:'9-'-.0"-0'--- - - - - -
      I S!TITLECOMPANY, INC.                                                                                     RECORDED ON :   January 25, 2011
                                                                                                                 AS DOCUMENT NO:      2011-42958
       ETS Serviees; LLC                                                                                         BY:         s/ ..leremy Ruacho
       2255 North Ontatio Street, Suite 400                                                                      LSI TITLE COMPANY (CA)
       Burbank, California 91504-3120
       (818) 260~1600
      · -:::S-:-N-;-:0;;:-:-::G:c::Mc-:-:-2:-:7:-:4:::22=3-:-C;:---..,....~- ---~--.;:;;;_;__ _ _ _ _ _ _ _ _ _ _ _-.5~PA;;cc7E;;'I<Bruo"vE.T'!tS UI'IE'FOR RECOJWER s ·USE
    -T:::
        LOAN NO ; 0359106075 -
                                                                 SUBSTITUTION OF TRUSTEE
                 WHEREAS, JOHfil CIRINO AND SEPIOEH CIRINO, HUSBAI\fll AND' WIFE AS COMMUflliTY PROPERTY
        was the original Trustor, ;rti:OR TITlE COMPANY was the original Trustee. and MORTGAGE ELECTRONIC
        REGISTRATION SYsTEMS, INC., AS NOMlNE,E FOR At..UANCE .B AN CORP A CALIFORNIA CORPORATfON was
        the original B-en&ficlary under thatcertain Deed ofTrust dated 10i20/2004 and recorded on 10129/2004 as Instrument No.
        2004000976411, in Book XX, Page XX uf Offidal Records of Orange County, California; and

                       WHEREAS, the undersigned is the present Beneficiary under said Deed of Trust, and

                       WHEREAS, the undersigned desires to substitute a new Trustee under said Deed of Trust io place and instead· of
             said or.igina! Trustee, or Successor Trustee. thereunder, in-the manner in said Deoo of Trust providoo,

                       NOW, THEREFORE, the undersigned desires to substitute Executive Trustee Services, LLC dba ETS
             Services, LLC, ?S Trustee under said Deed of Trust.                                                                                            ·

             Whent;lver the context hereof so requires.. the masculine gender ·includes.the feminine and/or neuter, and 1he singular
             number includes;lhe.p_lural_..
             Dated
             . .   ·    .        I~ I ~• F...
                                                                                    WELLS FARG'~~BA"NKi.. N:A-as'TRUSTEElOFHOLOERS of IMPA-c -·
                                                                                    S~CURED ASSETS CORP. MORTGAG-e p~s through          ·
                                                                                    CERTIFICATES, SERIES ~004-4; 13MAC MORTGAGE, LLC FKA
                                                                                    GMAC JAORTGAGE CORPORATION ITS A !TORNEY IN fACT

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             County of ·· !".:::>:--\. i..o :>            }
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                         \     \ ,                 oorore       me,      -~.A...\\. \"""":::...::u_·:-:~,'Y-13-r-                        Notary         Public,   personally   appeared
             _4,.::.t.\c. ~~i~f ~··~,.."-~~.;_- _ _who\ ;>ru,·£".:~On lh<> basis of satisfactory evidence to be the personis} w!l<;lst:l name(s)
             isla~· s.u~C!\tJed 10 f.><:·:>.f.hin Instrument <Znd ad,r.u•.\1edged lo rne that hc!s.helthe)O execu!ed the same in his!herfthei' authorized capac~y(les) . .ana tt-.a1
             by his.lher/l!u!ir :Signaturet.s) on1he instrument the per.SM{s), or·llle enlilyupon be-half of which tha person(s) acl.ed, executed the in!trument.

             I certify under penalty of perjury under 100 laws of the Slate o/      _::k::iJSS.___ thai tho foregoing .:;mragraph i& \rue :and correct
             WITNfSS.my hand ::and cif!icial seal..


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